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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA

Etta Calhoun, Sherry Porter, and Cynthia Gray,
On Behalf of Themselves and All Other Persons
Similarly Situated,
Plaintiffs, Docket No. 2:18-cv-01022

-against-
Second Amended Complaint

Class Action
Jury Trial Demanded
Invention Submission Corporation d/b/a InventHelp,
Technosystems Consolidated Corp., Technosystems
Service Corp., Western Invention Submission Corp.,
Universal Payment Corporation, Intromark Incorporated,
Robert J. Susa, Thomas Frost, P.A., Thomas Frost,
John Doe Companies 1-10, John Doe Individuals 1-10,

Defendants.

CLASS ACTION COMPLAINT
Plaintiffs, on behalf of themselves and all others similarly situated, make the following
allegations on personal knowledge as to their own actions and upon information and belief:

NATURE OF THE ACTION

1. This class action arises out of a deceptive and fraudulent invention promotion
scam that has bilked thousands of aspiring inventors into paying millions of dollars to
Defendants.

2. The gravamen of this case is Defendants’ outright, deliberate and fraudulent
violation of the American Inventors Protection Act of 1999 (“AIPA”), 35 U.S.C. § 297.

3. Defendants’ AIPA-mandated disclosures are inaccurate, false and misleading.
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4. For example, Defendants’ AIPA disclosures regarding clients’ receipt of license
agreements are inaccurate and fraudulent. As detailed at length infra, InventHelp concocts
bogus “60-day license agreements” on behalf of sham companies in order to manipulate and
falsify its AIPA disclosure numbers. See 35 U.S.C. § 297(a)(4).

5. InventHelp includes these falsified numbers in its AIPA disclosures to clients
(none of whom know or have reason to know that the numbers are falsified), thereby defrauding
all InventHelp customers as a whole.

6. Defendants and their agents intentionally misrepresent and omit material facts and
willfully fail to disclose material facts to customers as a matter of regular business practice, also
in violation of the AIPA. See 35 U.S.C. § 297(b).

7. For example, as part of its standard business practice, InventHelp sends customers
lists of companies allegedly in its ‘DataBank’ that have purportedly agreed to “review new ideas
in confidence.” In truth and in fact, many of the companies on these lists do not even exist
and/or are sham companies. Others have not agreed to “review new ideas in confidence,” have
not signed non-disclosure agreements, and have no relationship whatsoever with InventHelp.

8. Defendants’ entire business model and enterprise is fraudulent, from start to
finish. After being lured in by Defendants’ slick advertising and sales tactics, Class Plaintiffs are
induced to sign expensive Submission Services contracts based upon Defendants’ purposefully
incomplete patent searches and reports.

9. InventHelp and its agents make many misrepresents of present fact in order to
induce customers to sign the “Submission Agreements” thereby handing over to Defendants

enormous sums of money.

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10. InventHelp advertises and verbally represents to prospective and existing clients
that it has relationships with certain well-known entities, brands and big-box stores, including K-
Mart, Walmart, Bed Bath & Beyond, Lysol, Air Wick, Cabela’s, Elmer’s, Heinz, Carnegie
Mellon University, and other such large and reputable entities, and that these entities are
registered in InventHelp’s “DataBank.” (See Exhibits I and J hereto). These verbal
representations and visual advertisements are false, misleading and contain outright lies.

11. Customers who sign up for the first, less expensive step of InventHelp’s services
receive a hard-bound InventHelp “Report” and a “Preliminary Patentability Opinion”’
purportedly authored by Patent Attorney Defendant Thomas Frost.

12. InventHelp relays these reports to its clients. Both documents are purposefully
obtuse, contain omissions and misrepresentations, and serve as InventHelp’s hook to set up

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additional meetings under the guise of “explaining the reports,” “going over the patent results” or
“revising the reports.” In truth, these reports and patentability opinions are InventHelp’s crucial
first step in its scheme to trick inventors into second meetings in which they are upsold into
signing exorbitantly expensive Submission Services Agreements, which cost approximately
$13,500 - $30,000 a pop.

13. Defendants’ “Preliminary Patentability Opinions,” opine that customers’ proposed
inventions are eligible to receive design or utility patents, when, in fact, there often already exist
“dead ringer” patents that preclude patents for these inventions.

14. These are but a few examples of the rampant and blatant fraud perpetrated by
Defendants as a matter of company policy, as detailed at length infra.

15. | Defendants’ ubiquitous late-night television and internet commercials, featuring a

cartoon image of a caveman sitting on a rock, banging a wheel with a chisel, promise consumers
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that InventHelp has contracts with thousands of companies that are looking for new ideas. The
commercials state, “We keep your idea confidential’; “We explain every step of the invention
process”; “We create professional materials representing your idea and submit it to companies
who are looking for new ideas”; ““We have more than 9,000 companies who have agreed to
review ideas, in confidence,” among other representations.

16. —_In truth and in fact, InventHelp does not keep its customers’ ideas confidential,
does not have relationships with “more than 9,000 companies who have agreed to review ideas,
in confidence” and does not provide customers with “professional looking materials.”

17. To the extent InventHelp does send out mass mailings of flyers describing
consumers’ inventions, many recipients of the flyers have not signed nondisclosure agreements
and/or do not even exist.

18. Defendants’ regular practice thus puts Plaintiffs’ ideas in the public realm thereby
impacting potential patentability.

19. Defendants’ regular practice also risks theft of Plaintiffs’ unpatented ideas.

20. Defendants’ regular practice also decreases and/or eliminates the salability of
Plaintiffs’ inventions because these ideas become public.

21. InventHelp is also engaged in the unauthorized practice of law and the
unauthorized advertisement of legal services. For example, InventHelp’s television and internet
advertisements state: “How do you get a patent? Call InventHelp — they’ve been helping people

just like you for 35 years.” Others state: ‘““We have been helped over 10,000 clients get patents.’

Yet others state: “Do you want to try to get a patent? Call InventHelp now.”
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22. During customers’ follow up meetings with InventHelp, non-lawyer InventHelp
representatives explain and advise customers with respect to the Thomas Frost Patentability
Opinions as a matter of company practice.

23. Some InventHelp commercials feature InventHelp client testimonials. These
commercials falsely intimate that the clients featured therein have achieved success through
InventHelp. In fact, not a single one of those InventHelp clients made a dime.

24. Other InventHelp commercials use the logos of well-known brands and big-box
stores, thereby giving customers and prospective customers the incorrect impression that
InventHelp 1s affiliated with these entities.

25; Whilst InventHelp, Universal Payment Corporation, Intromark Inc., and the other
named Defendants hold themselves out to be independent companies, they are one and the same,
and are parts of an integrated fraudulent enterprise. The schemes, trickery, and fraud set forth
herein are universal and indistinguishable, notwithstanding the titles of the entities with which
Class Plaintiffs believe they are dealing.

26; Defendants craft their polished marketing materials (including television
advertisements, internet ads, web pages and telemarketing calls) to create the impression that
Defendants have successfully helped other consumers monetize their inventions, and thus that
Defendants are reliable and reputable. Defendants’ offices are decorated with supposed
successful inventions, often labeled, “As Seen On TV,” in order to further create the impression
that they are a legitimate enterprise. In truth and in fact, Defendants are a fraud.

27. Defendants’ multi-tiered conspiracy preys upon consumers’ high hopes and
dreams. It is cleverly constructed to avoid liability and monetary judgment by employing an

intricate web of entities — invention promotion companies, licensing agents, private money
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lenders, patent attorneys and agents, licensing and distribution companies — that act in concert to
defraud Class Plaintiffs.

28. Defendants employ sophisticated and crafty mechanisms to escape liability,
including the insertion of fraudulent clauses into their various contracts designed to extinguish
would-be private litigants’ rights.

29. Because Class Plaintiffs often do not have at hand the tens of thousands of dollars
‘necessary’ to make their dreams come true, they are offered generous loans by “independent
private money lender” Universal Payment Corporation.

30. This “independent private money lender” is not independent at all — it operates
under the identical ownership and control as InventHelp, has no actual business address other
than a P.O. Box, and is an indispensable arm of the fraudulent scheme described herein.

31. Class Plaintiffs agree to pay the steep initial fees out of pocket (often selling
personal property, remortgaging their homes, or borrowing from family members) or to loan the
money from Defendant Universal Payment Corporation. In the meantime, Defendants make off
with Class Plaintiffs’ money and do little to nothing to fulfill their end of the bargain, stringing
Class Plaintiffs along with false promises and boilerplate “analyses” in order to extract more
money, and then disappearing and dodging calls as soon as Defendants have the money in hand.

B2s Once consumers sign the expensive agreements, they receive a flurry of
paperwork for years on end, giving them the continuing impression that Defendants are working
on their behalf. In truth and in fact, Defendants are generating this paperwork in order to create
this impression, with no expectation that the proposed inventions will be licensed. Indeed, on the

rare occasion that a legitimate company expresses interest in an InventHelp client’s idea, that
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company has no means of contacting InventHelp other than the 1-800 number advised on
InventHelp’s late-night television commercials. These calls go unreturned.

33. After months or years of silence, Defendants reappear to clients, representing that
outside companies have discovered their inventions, and that those companies now want to
license the products pursuant to “60-day license agreements.”

34. Defendants falsely represent to these clients that “60-day license agreements” are
standard industry practice. InventHelp customers sign the paperwork and excitedly wait for their
dreams to come true. Inevitably, the sham licensing companies decide against “renewing” the
fake 60-day licenses.

35. In the meantime, InventHelp files fraudulent tax documents with the U.S. Federal
government, representing that clients received licensing agreements, when, in truth and in fact,
these purported ‘60-day licenses” are concocted solely for the purpose of bolstering
InventHelp’s AIPA disclosures — InventHelp includes the sham ‘60-day licenses” in their AIPA
numbers, thereby falsely representing to existing and potential clients the number of InventHelp
customers who received licensing agreements.

36. Fraud permeates all of the dealings and contracts between Class Plaintiffs and all
Defendants herein, from start to finish. Defendants’ enterprise as a whole is fraudulent, and
Defendants fraudulently induce Class Plaintiffs to sign various contracts.

37. Defendants also fraudulently misrepresent the actual content of the contracts
between Defendants and Class Plaintiffs, thereby tricking Class Plaintiffs into signing documents

that state different terms and conditions than those represented by Defendants (fraud-in-the-

factum).
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38. Before consumers have the opportunity to meaningfully review the lengthy,
complicated contracts at issue, Defendants use high-pressure tactics, routinely telling consumers
that “today is the very last day” of a “special” or “promotion” that will save consumers hundreds
or thousands of dollars, but that in order to get these savings, consumers must sign immediately,
before leaving the office. These statements are false and fraudulent — there are no such
“specials” or “promotions” that are about to expire.

39, As detailed herein, when customers express concern about their ability to make
future payments pursuant to the contracts with Defendants, Defendants’ representatives point out
Paragraph 3 of the Submission Agreement, falsely representing to customers that this clause
enables them to stop making payments with no penalties, when, in truth and in fact, it does not.

40. Defendants’ actions are particularly egregious because many of their customers
are of modest means. Defendants’ representatives employ high pressure tactics to push Class
Plaintiffs to hand over tens of thousands of dollars and sign fraudulent contracts, falsely
representing to Class Plaintiffs the actual content of those contracts, that if Class Plaintiffs sign
immediately (without time to properly review the contracts) they will receive substantial
discounts pursuant to “‘specials” that are about to expire, that Class Plaintiffs’ proposed
inventions are one-of-a-kind and/or carry terrific potential for profit, and that Class Plaintiffs
likely stand to make ‘millions’ or ‘billions’ if they engage Defendants’ services.

41. Defendants also use nefarious means to censor, block and/or mask negative
reviews of InventHelp, thereby preventing consumers from seeing what really happens to those
who sign up for their services.

42. In order to obstruct consumers’ view of the hundreds of negative reviews of

InventHelp on the consumer-targeted internet websites www.pissedconsumer.com, and
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www.ripoffreport.com, Defendants employ sophisticated mechanisms (including purchasing
domain names) to redirect those consumers to InventHelp’s own website, or otherwise redirect
consumers without consumers’ knowledge and/or consent, to false and fraudulent glowing
reviews.

43. Defendants also employ deceptive and fraudulent tactics by using threats,
intimidation and harassment to collect debts. In order to induce Class Plaintiffs to sign contracts,
Defendants represent that if Class Plaintiffs can no longer make payments, then, pursuant to
Paragraph 3 of the Submission Agreement, there is “no risk” — the contracts will simply expire
with no further performance on either end. However, if and when Class Plaintiffs stop paying,
Defendants dog Class Plaintiffs, threaten to “destroy” Plaintiffs’ credit and threaten to put liens
on their homes and other personal property.

44. Defendants call Class Plaintiffs multiple times per day, often on Plaintiffs’ cell
phones, and verbally threaten and harass, oftentimes using foul language.

45. As detailed infra, Defendants’ actions violate the AIPA and give rise to liability
pursuant to a variety of common law claims, including fraud and breach of contract, among
others.

THE PARTIES

46. Plaintiff Etta Calhoun is an individual who is a citizen of the State of Texas,
residing at 23510 Whispering Willow, Spring, Texas 77373.

47. Plaintiff Sherry Porter is an individual who is a citizen of the State of New York,
residing at 99 Mill Road, Rochester, New York, 14626.

48. Plaintiff Cynthia Gray is an individual who is a citizen of the State of Texas,

residing at 8612 Sunwood Ct., Fort Worth, Texas, 76123.
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49. The entities and individuals listed in paragraphs 50-59 have engaged in and have
conspired to engage in a pattern of fraudulent activity, have each committed numerous acts as
part of their scheme to defraud Class Plaintiffs, have each participated in the operation or
management of a fraudulent enterprise, and have each acted with actual authority and/or apparent
authority on behalf of each and every Defendant herein.

50. Defendant Invention Submission Corporation does business under the names
‘InventHelp,’ and ‘Innovation Communications,’ among others, and is located in the same office,
and shares identical management and employees, with InventHelp, Technosystems Consolidated
Corporation, Western Invention Submission Corporation, Technosystems Service Corporation,
and Intromark Incorporated (collectively, “InventHelp” or “InventHelp Defendants’’).

51. Consumers who sign contracts with InventHelp and/or Western InventHelp
(including Named Plaintiffs herein) sign an explicit acknowledgement that InventHelp, Invention
Submission Corp., Western InventHelp, and Technosystems Service Corporation will all be
performing services under the contracts, regardless of the particular contract’s corporate
signatory. All contracts signed by any InventHelp Defendant are ultimately signed by Angela
Beauchamp, in Pittsburgh PA, on behalf of each and every entity. Although Plaintiffs often sign
contracts with multiple entities at the same time — for example, Western InventHelp and
Intromark Incorporated — all letters they receive thereafter are on InventHelp letterhead and are
signed by “InventHelp representatives.”

52. Defendant Invention Submission Corporation d/b/a/ InventHelp and d/b/a/
Innovative Communications, is a Pennsylvania corporation with its principal place of business
located at 217 Ninth Street, Pittsburgh, Pennsylvania 15222. It is registered to do business under

the name InventHelp.

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53. Defendant Technosystems Consolidated Corporation identifies its “web URL” as
“www.inventhelp.com.” It is a Delaware corporation with its primary place of business located
at 217 Ninth Street, Pittsburgh, Pennsylvania 15222. Bloomberg identifies the “web URL” of
Technosystems Consolidated Corporation as “www.inventhelp.com.” Named Plaintiffs and
proposed Class Plaintiffs who sign contracts with InventHelp, Universal Credit Corp., and/or
Western InventHelp, are actually charged on credit card statements by Technosystems
Consolidated Corporation.

54. Defendant Technosystems Service Corporation is a Delaware Corporation with a
primary place of business located at 217 9" Street, Pittsburgh, PA 15222. Individuals who
contract with InventHelp and/or Western InventHelp sign an explicit acknowledgement that
Technosystems Service Corporation will: “engage in performing invention development
services under this Contract.”

55. Defendant Western Invention Submission Corporation (“WISC”) is a North
Carolina Corporation with a principal place of business located at 217 9" Street, Pittsburgh, PA
15222. WISC operates under the registered name Western InventHelp. Individuals who contract
with WISC sign the following acknowledgement: “[WISC] is the name of the corporation
contracting to perform the Invention development services. WISC is operating under its
registered name, Western InventHelp. Western Inventhelp’s principal business address is: 217
Ninth Street, Pittsburgh, Pennsylvania 15222. There are no parent, subsidiary or affiliated
companies that will engage in performing invention development services under this Contract
other than INVENTION SUBMISSION CORPORATION, 217 Ninth Street, Pittsburgh,
Pennsylvania, 15222, an affiliate, and TECHNOSYSTEMS SERVICE CORP., 217 Ninth Street,

Pittsburgh, Pennsylvania, an affiliate.”

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56. Defendant Intromark Incorporated is a Pennsylvania Corporation with a primary
place of business located at 217 9" Street, Pittsburgh, PA 15222.

57. Defendant Universal Payment Corporation is a Pennsylvania Corporation with a
principal place of business listed at 903 Liberty Avenue, 3" Floor, Pittsburgh, PA 15222.
Individuals who finance their contracts with Defendants do so through this entity, which operates
under the same management and control as InventHelp.

58. Defendant Robert J. Susa is President of all of the InventHelp Defendants -
Defendants Invention Submission Corporation d/b/a InventHelp, Technosystems Consolidated
Corporation, Technosystems Service Corporation, Western Invention Submission Corporation
d/b/a Western InventHelp, Universal Payment Corporation, Innovation Communications, and
Intromark, Incorporated. Mr. Susa is an individual who is a citizen of Pennsylvania, residing at
4190 and 4240 Muirfield Circle, Presto, Pennsylvania 15142-1069.

59. Defendant Thomas Frost is a patent attorney licensed to practice in the State of
Florida, and is the principal of Defendant Thomas Frost, P.A. (collectively, the “Frost Attorney
Defendants”), with a primary place of business at 6600 Fourth Street North, Suite 102, Saint
Petersburg, Florida 33702.

60. Defendants ‘John Doe’ Individuals and ‘John Doe’ Companies are unidentified
persons and entities that participate in the fraud described herein.

JURISDICTION

61. This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.
Sections 1331, 1332(d)(2)(A). This Court has original jurisdiction over this civil action as it
arises under the Constitution, laws, or treaties of the United States. This Court also has original

jurisdiction because the amount in controversy exceeds the sum or value of $5,000,000,

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exclusive of interest and costs, and is a class action in which a member of the class of plaintiffs is
a citizen of a state different from the defendants.

62. Venue is proper pursuant to 28 U.S.C. Section 1391.

63. Exercise of jurisdiction over Defendants is proper. Defendants are subject to
general jurisdiction in the Commonwealth of Pennsylvania Defendants’ principal places of
business are located in Pittsburgh, Pennsylvania, they regularly transact extensive business
activities in Pennsylvania, and are licensed and/or authorized to do business in Pennsylvania.
Moreover, Defendants are subject to specific jurisdiction in Pennsylvania because they have
transacted and continue to transact business in Pennsylvania, have engaged in tortious conduct in
Pennsylvania, receive all business and referrals by virtue of Pennsylvania entities, and there is a
substantial nexus between Defendants’ purposeful availment of the Pennsylvania forum and
Plaintiffs’ claims.

64. Defendants have significant contact with Pennsylvania such that they are subject
to the personal jurisdiction of this Court. This Court’s assertion of jurisdiction over Defendants
is consistent with the notions of fair play and substantial justice. Defendants purposefully avail
themselves of the benefits of Pennsylvania such that they could reasonably anticipate being
hauled into Court here, or otherwise directed their conduct toward this Pennsylvania such that

the effects of their damages were occasioned upon Plaintiffs within Pennsylvania.

FACTUAL BASIS FOR CLAIMS

 

65. The instant complaint tells the stories of three InventHelp customers. While the
names, dates, and locations of each may differ, the course of action that they illustrate are one

and the same. Each Named Plaintiff (and potential class member) was presented with false and

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misleading AIPA disclosures; each Named Plaintiff (and potential class member) signed
expensive contracts by virtue of false and misleading statements, advertisements and reports; and
each Named Plaintiff (and potential class member) was strung along for years on end with false
and misleading letters and communications from InventHelp, including the false representation
that InventHelp was sending information describing their inventions to ‘““DataBank” companies
that had signed nondisclosure agreements, when, in fact, InventHelp was not.

ok #

66. In or about January 2013, Plaintiff Sherry Porter, a 52-year old accounts payable
clerk at a sheet metal manufacturing company, believed that she had created a new invention: a
pet collar with LED lights to keep animals safe at night, which she named “Light Lock Pet
Collar.”

67. Ms. Porter had seen various television commercials for InventHelp and was
persuaded to call the company.

68. On or about January 11, 2013, Ms. Porter contacted InventHelp via email.

69. That same day Ms. Porter was notified that Amanda Herman, an InventHelp
representative, would be present at InventHelp’s Rochester, New York, Linden Oaks office, and
Ms. Porter set an appointment for January 19, 2013.

70. On January 19, 2013, Ms. Porter met with InventHelp representative Amanda
Herman. At that meeting, Ms. Porter was impressed with InventHelp’s offices and the
professionalism and seeming profitability of the Rochester, New York office. Upon information
and belief, contrary to its purposeful impression, the Rochester, New York office, and most
InventHelp offices throughout the country, are merely temporary rented space and not permanent

InventHelp locations.

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71; At that meeting, Ms. Porter was also impressed with Amanda Herman, who
presented herself and InventHelp as experienced experts in helping laypersons develop and
capitalize upon their inventions.

72. Amanda Herman expressed extreme excitement about Ms. Porter’s idea, and said,
“T really hope that you decide to move forward with this idea.”” Ms. Herman said, “animals get
hit by cars daily across the country and world for that matter. Not to mention that this could go
far in branching out to have this with children. Your idea isn’t just a product that you use in the
kitchen, it saves innocent lives and that to me is priceless.”

73. Ms. Herman emphasized that she had never seen a product like this on the market.
Upon information and belief, this statement was false or was made with reckless disregard for its
truth or falsity.

74. Ms. Herman said that Ms. Porter’s idea was extremely marketable and carried
immense potential for profit because it could be used not just for pets, but for farm animals and
children. Upon information and belief, this statement was false or was made with reckless
disregard for its truth or falsity because Ms. Herman had reason to believe that similar items
were likely already sold on the open market.

75. Ms. Herman presented Ms. Porter with disclosures at the January 19, 2013
meeting. Those disclosures state: “From 2009-2011, we signed Submission Agreements with
4,607 clients. As a result of our services, 116 clients have received license agreements for their
products, and 26 clients have received more money than they paid us for these services.”
Although Ms. Porter did not know it at the time, the numbers in these disclosures are false and
misleading by virtue of their inclusion of sham licensing agreements, among other reasons. She

had no way of knowing this.

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70. Ms. Porter was presented with a second set of disclosures at that meeting setting
forth InventHelp’s numbers for the past 5 years that provided statistics regarding number of
InventHelp clients, number of InventHelp customers who profited from their contracts with
InventHelp and, “The total number of customers known by InventHelp to have received license
agreements for their inventions as a direct result of InventHelp services is 167,” among other
things. Although Ms. Porter did not know it at the time, the numbers in these disclosures are
false and misleading by virtue of their inclusion of sham licensing agreements, among other
reasons. She had no way of knowing this.

77. Ms. Porter was overjoyed that InventHelp, a seemingly sophisticated and
successful invention promotion company, was impressed with her idea. However, due to
financial constraints, she was reluctant to sign a contract right then and there. Ms. Herman told
Ms. Porter that InventHelp was wrapping up a special offer, and that it was the last day to receive
a $100 discount on the “Basic Information Package.”

78. Ms. Herman also told Ms. Porter that Ms. Porter could finance the cost through an
independent loan company, Universal Payment Corporation.

79. Ms. Porter signed a “retail installment contract” with Universal Payment

Corporation, agreeing to a $300 cash down payment and installments thereafter of $128 per

month.

80. Thereafter, Ms. Porter received emails from “universalpaymentcorp.com” with
payment receipts.

81. However, Ms. Porter’s payment pursuant to that contract was charged to “Techno
InventHelp.”

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82. Ms. Porter began to get nervous about the money she had spent. She performed
some internet searches and saw many complaints about InventHelp on various online complaint
boards, chat groups, and other online spaces.

83. By email dated January 21, 2013, Ms. Porter reached out to the “United Inventors
Association of America,” a purported 501c3 nonprofit organization “dedicated to providing
educational resources and opportunities to the independent inventing community.”’ Ms. Porter
stated: “Hi my name is Sherry and I recently interviewed with InventHelp, and since I have seen
nothing but bad reviews. I am wondering if you have any insights to offer to me. I would
greatly appreciate anything you can offer.”

84. InventHelp was made aware of Ms. Porter’s email to the United Inventors
Association of America.

85. It is unclear how InventHelp obtained access to Ms. Porter’s inquiry to the
“United Inventors Association of America,” and what the relationship is between InventHelp and
that purported 501c3 entity.

86. By email dated January 22, 2013, Amanda Herman, on behalf of InventHelp,
replied to Ms. Porter stating, “I realized that there are several links that have both Inventhelp and
Scam , however, they are our own websites that we have created to help inventors from being

scammed by shady invention companies, so I am not sure if you have actually clicked on those

 

links to see that they are our sights (sic.) created to stop invention scams in the business. The
only negative info I saw available was 41 complaints. In 29 years of business and 1000’s of
inventors 41 complaints is a very low percentage for a company to have. I am not discounting
the fact that there are a couple unhappy customers, but again all subjective information and you

never get the other side of the story when reading their complaints. We work hard to resolve any

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issues when it comes to customer care, and everything we do here is regulated by a strict

compliance department and the FTC. With that said, I urge you to not only research us with the

 

BBB but also click on the links that say inventhelp and scam.....they are not saying we are a
scam, we are exposing other companies out there that are.” (emphasis in original).

87. Upon information and belief, these statements were made with knowing falsity
and/or reckless disregard for their truth. The ‘InventHelp / scam’ postings found on the internet
were NOT posted by InventHelp or by its own websites, as represented by Ms. Herman. The
InventHelp complaints online are NOT “our sights (sic) created to stop invention scams in the
business,” as represented by Ms. Herman. As of January 2013, contrary to Ms. Herman’s
representation, there were hundreds, if not thousands, of online complaints against InventHelp,
not, as Ms. Herman stated, only 41.

88. Ms. Porter had no way of knowing this because InventHelp uses nefarious means
to censor, block and/or mask negative reviews of InventHelp.

89. In order to obstruct consumers’ view of the hundreds of negative reviews of

InventHelp on the consumer-targeted internet websites www.pissedconsumer.com, and

 

www.ripoffreport.com, Defendants employ sophisticated mechanisms (including purchasing
domain names) to redirect those consumers to InventHelp’s own website, or otherwise redirect
consumers, without consumers’ knowledge and/or consent, to false and fraudulent glowing
reviews.

90. InventHelp pays sophisticated “reputation management professionals” to erase
bad reviews online, falsely representing to website administrators that certain bad reviews have

been ruled defamatory by court orders, when, in fact, they have not. For example, InventHelp

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engaged Florida “reputation management lawyer” Zachary Sloan to erase negative online
InventHelp reviews; the purported court orders relating to those reviews are nonexistent.

91. Throughout the next few weeks, Ms. Porter repeatedly contacted InventHelp and
Ms. Herman. She was repeatedly urged to go forward and told that InventHelp was successful
and that with its help, she too would be successful with her invention, which carried immense
potential for profit due to the large market size.

92. On or about February 25, 2013 Ms. Porter received the “Basic Information
Package” that she had purchased for approximately $700. She contacted Amanda Herman at
InventHelp to go over the results and point out errors in the package.

93. By email dated February 25, 2013 at 10:46 am, Ms. Herman stated, “Don’t be
disappointed. First there is a lot of information throughout the basic information package, and I
haven’t read through it all. That is the first draft so if you find something is missing after you
have gotten through every thing, tell me and we can add what we need to ensure it is all correct
and we are all on the same page. Second, you should schedule to come in and see me when I am
in Rochester I will be there Friday 15"*-Sunday 17" so we can sit down and go over the second
stage options so you fully understand everything. The one program is designed to have inventors
who want to be involved do so but most hire us to do everything for them. So instead of getting
down and out, please let me know what day and time would be great so we can go through
everything and get things corrected, added and understood. One of the major reasons we send
out a copy of the work so far, is so that the inventor can proofread and add and make comments
to ensure that we are all on the same page.”

94. Upon information and belief, these statements were knowingly false and/or made

in reckless disregard of the truth. The ‘Basic Information Package’ is the first step in

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InventHelp’s scheme to draw aspiring inventors into spending tens of thousands of dollars on
additional services. Ms. Herman did not disclose this, nor did she disclose that the purpose of
their next meeting was not to revise the book, or to “go through everything and get things
corrected,” but rather to “upsell” Ms. Porter on to another, more costly and involved, package.

95. In March 2013, Ms. Porter, her daughter in tow, again met in Rochester with
Amanda Herman. At this meeting, Ms. Herman told her about a recent news story about a cow
that was hit by a car. Ms. Herman represented that the Basic Information Package results
showed that Ms. Porter’s invention carried immense potential for profit, and that Ms. Porter
“must pursue this” as soon as possible in order to capitalize on this huge opportunity, which
could amount to “hundreds of millions of dollars.” Upon information and belief, Ms. Herman
was lying, had not seen any news story about a cow, did not believe that Ms. Porter’s idea was
unique or marketable, and did not believe that Ms. Porter’s idea would be profitable for her.

96. At this meeting, Ms. Porter expressed concern about the next level of services
offered, “Submission Services” for over $10,000.

97. Ms. Herman pressured Ms. Porter, telling her that it was the last day of a “rare
special” where she would get $1,900 off the $11,000 price. Ms. Herman explained that Ms.
Porter could use her contract with Universal Payment Corporation to finance the submission
services, and that if she signed up that very day, she would get that special price. In truth and in
fact, it was not the “last day” of a “special.”

98. Sherry Porter told the InventHelp representative that she was worried that she
would be unable to keep up with payments in the future.

99. Ms. Herman told Ms. Porter at that meeting that if Ms. Porter ever failed to come

up with the money, it was no risk to her — she could just stop making payments and InventHelp

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would stop performing services. Ms. Herman pointed out Paragraph 3 of the Submission
Services contract, which states, “In the event Client breaches this Agreement by failing to pay
for the services described herein, InventHelp shall have the right to suspend services or
terminate the Agreement, in which case InventHelp shall be under no obligation whatsoever to
provide any further services to Client.”

100. Ms. Herman represented that pursuant to Paragraph 3, the only legal recourse
InventHelp would have if Ms. Porter were to stop paying would be to cease services, and thus
that Ms. Porter had nothing to worry about. In truth and in fact, InventHelp aggressively pursues
clients who fail to make payments, reporting them to credit agencies and threatening legal action.
Ms. Herman knew this but did not disclose it.

101. Following that meeting, Ms. Porter emailed Ms. Herman, stating “I am just trying
to come up with some ideas of different ways to finance the $9000.00 that we talked about. One
of my thoughts was can I do 4 years verses 3 to bring the payment down?”

102. AHerman@inventhelp.com replied that Ms. Porter could finance for 4 years, but
then Ms. Porter would lose the $1900 discount.

103. Ms. Porter eventually signed a “Submission Agreement” with InventHelp for
$9,000 on or about May 17, 2013. Upon information and belief, all “Submission Agreements”
with InventHelp and/or Western InventHelp are identical.

104. Ms. Porter financed the Submission Agreement through Universal Payment
Corporation.

105. When she signed the contracts, Ms. Porter was not provided with accurate
disclosures of, inter alia, the accurate number of customers it had in the last five years, the

number of positive and negative evaluations, the accurate number of customers who received a
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net profit from inventions, the accurate number of customers who received license agreements,
or the names and addresses of invention promotion companies with whom InventHelp or its
officers were affiliated in the last ten (10) years

106. The Submission Agreement states, among other things, that “InventHelp will
prepare a New Product Submission Brochure, which shall include a description of the invention,
benefits and features, a 3D graphic or other illustration in color, Standard Industrial
Classification (SIC) codes and suggested distribution channels.”

107. The Submission Agreement states, “InventHelp maintains a Data Bank of
companies that have registered to receive our clients’ submission materials on an ongoing basis. .
.. InventHelp will submit Client’s invention, product or idea to Data Bank companies in an
attempt to obtain a good faith review as set forth in more detail below.”

108. The Submission Agreement states, “Companies registered in our Data Bank have
agreed to review submission materials submitted to them by InventHelp in confidence and have
signed confidentiality and non-use agreements.”

109. The Submission Agreement states, “DataBank companies that we have attempted
to match with your invention will be sent a copy of Client’s New Product Submission Brochure.
This is how Data Bank companies may encounter, receive or see your invention and are then in a
position to decide whether to conduct a good faith review.”

110. The Submission Agreement states, “Client agrees that InventHelp shall have the
exclusive right to submit the idea, invention or product which is the subject of this Agreement,
for the sole purpose of attempting to obtain a good faith review and reviewing any interest

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expressed including the right to use designs, models, patents issued and pending... .’
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111. By email dated July 31, 2013 Ms. Porter reached out to Amanda Herman asking
about the status of her invention submission materials.

112. On that same day, Ms. Herman replied that it takes months before the materials
are ready. Ms. Herman attached a document entitled, “InventHelp Timetable of Submission
Services.” That document states that between 6 to 20 weeks after the Submission Agreement is
signed, InventHelp will send its clients drafts of materials describing the invention, after which
time the “Submission Services” would begin.

113. In early 2014, Ms. Porter began receiving mail from InventHelp representing that
it was submitting her information to companies in accordance with their contracts.

114. Ms. Porter was given the impression that InventHelp was working diligently on
her behalf.

115. For example, by letter dated March 14, 2014, InventHelp informed Ms. Porter that
it had submitted information about her invention to companies.

116. By letter dated March 2, 2015 InventHelp informed Ms. Porter that it had
submitted information about her invention to more companies.

117. By letter dated March 9, 2015 InventHelp informed Ms. Porter that it had posted
her invention press release on PR WEB news distribution website.

118. By letter dated May 13, 2015, Ms. Porter received a letter from InventHelp stating
that “Your New Product Submission Brochure was mailed to the companies on the enclosed
report listed as “Data Bank.” Attached to that letter is a list of 48 “Data Bank’ companies.

119. Upon information and belief, this list of Data Bank companies, and company lists
sent to all InventHelp customers, are shams. Some of the companies do not exist and are

purposefully misspelled to resemble actual existing companies that have no relationship with

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InventHelp (for example, listing the company as ‘Inc.’ instead of ‘LLC’). Other “Data Bank”
companies claim to have no relationship with InventHelp, and have not signed any
confidentiality agreements, or any agreements whatsoever, with InventHelp.

120. For example, the company “Fulcrum Designs” based in Portland Oregon is listed
as a DataBank company to which InventHelp sent Sherry’s New Product Submission Brochure.
However, per the principal of Fulcrum, that company has no relationship with InventHelp,
receives no mail from InventHelp, received no information about Sherry’s invention from
InventHelp, and has never signed any nondisclosure agreement with InventHelp. Another
company on InventHelp’s May 13, 2015 list to Sherry Porter, ““Gen 7 Pets,” does not accept
invention ideas whatsoever as a matter of company policy.

121. These are but two examples; a limited survey of InventHelp clients’ DataBank
lists reveals that approximately one half of the companies that InventHelp represents to clients
are in its DataBank in fact claim to have no relationship with InventHelp, claim to have never
signed nondisclosure agreements, and/or appear to be nonexistent companies.

122. Ms. Porter did not know this; she trusted InventHelp’s representations that it was
in fact sending her idea to DataBank companies, that those companies were legitimate, and that
those companies had agreed to review InventHelp customers’ ideas “in confidence.”

123. By letter dated July 21, 2015, InventHelp sent Ms. Porter a letter summarizing
InventHelp’s work on her behalf, including “we have prepared and submitted different materials
to companies and publications to help you try to get exposure for your idea and generate
interest/feedback. We targeted companies in the InventHelp DataBank that have registered their
preliminary product interest areas and have agreed to review our clients’ inventions in

confidence,” among other things.

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124. The July 21, 2015 letter stated: “Beginning now, in accordance with your
Intromark Proposal Agreement, we will continue to follow up with any company who expresses
an interest in your invention as a result of our efforts for a period of 3 additional years.”

125. Time passed, and Ms. Porter assumed that InventHelp had in good faith submitted
her invention to companies, and that none were interested.

126. Then, in March 2018, InventHelp contacted Ms. Porter by telephone and email
claiming that a company was interested in her invention.

127. In April 2018, InventHelp left a voicemail message for Ms. Porter, telling her that
a company wanted to pay her $500.00 to review the paperwork for her invention. Ms. Porter’s
interest was piqued by the offer of $500.00, and she returned the call.

128. On April 18, 2018, Ms. Porter was contacted via email from “Director of Product
Development InventHelp/Intromark’” from the address JDiresta@intromark.com. That email
stated: “My name is Joe DiResta, I am happy to make your acquaintance it was nice to speak to
you. As we discussed we have a company who we work with that is willing to give us $500.

To hold the product for 60 days from the time we sign the deal. This is not a transfer of rights it
is a license for them to review the item.
I will be sending a contract over the next day or so if you have any questions please give me a

call to discuss.
Please send me an email back to let me know you received this email.

 

Thanks,
Joseph DiResta
Director of Product Development

InventHelp/Intromark

C. 917 991 0204
O. 412 288 1300 x1416” (emphasis in original).

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129. Joe DiResta identified himself as “Director of Product Development
InventHelp/Intromark,” making no distinction between these companies.

130. The official LinkedIn Profile of Joe DiResta on that date, and as of the date of the
instant filing, lists his title as “Director of Product Development at InventHelp” from “July 2008
to present.”

131. Ms. Porter called Mr. DiResta at 1-412-288-1300, InventHelp’s Pittsburgh
headquarters, and was overjoyed to learn that a company was interested in licensing her product.
She told Mr. Diresta that she wanted to proceed.

132. That same day, April 18, 2018, Joe DiResta sent Ms. Porter another email
attaching a “Licensing Agreement” between “Abrams Gentile Entertainment LLC, 244 West 54"
Street, 9"" Floor, New York, New York,” Intromark, and Ms. Porter together with a W-9 tax
form. Mr. DiResta’s email stated: “Hi Sherry,

Thank you for the help with this.

So you have my information, my name is Joe DiResta the Director of Product

Development InventHelp/Intromark, it has been nice to speak to you. As we discussed we have a
company who we work with that is willing to give us $500.

To hold the product for 60 days from the time we sign the deal. This is not a transfer of rights it
is a license for them to review the item.

Attached is the contract and the W9 for tax purposes.

***Please sign and fax or scan back the last/signature page only thank you.

Once we receive your page signed we will reach out to the company for signature. Once the doc
is fully executed and we should receive the funds;

when the check clears you will receive the funds.
This is a 30 day process but you can check in at any time thank you.

Also attached is a W-9 please fill out and return for our accounting dept.

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1 need both docs filled out and or signed and scanned back or faxed to me before we can
redistribute the funds.

 

Thank you very much, please call my cell if you have any questions!
FAX NUMBER 412 338 0497
Thanks,
Joseph DiResta

Director of Product Development

InventHelp/Intromark

C. 917 991 0204

O. 412 288 1300 x1416

FL 412 338 0497”

133. Attached hereto as Exhibit A is a copy of that email together with the purported
“60-day License Agreement” and the W-9 Form transmitted to Ms. Porter from InventHelp
therewith.

134. Everything in InventHelp’s April 18 communications are outright lies. The
“License Agreement” is asham. Abrams Gentile Entertainment, LLC, is also a sham. The
website for Abrams Gentile Entertainment, www.agebrands.com, describes it as “‘a New York
based concept development group incorporated in 1986 specializing in creating and producing
youth consumer products and family brand entertainment with sustainable value. ... [It has]
created such ground breaking brands as SKY DANCERS, the Nintendo POWER GLOVE,
SHINING STARS.”

135. As of June 2018, the telephone number listed on the website for Abrams Gentile

Entertainment was 1-212-757-0700. Calls to that number were routed to an operator that

answered, “Airport Service,” and references a website, www.airportservice.com; calls to the

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number provided on the “Airport Service” website are routed to the same operator service as the
one for Abrams Gentile Entertainment.

136. As of the date of the instant filing, the telephone number has been removed from
the Abrams Gentile website.

137. The purported License Agreement, attached hereto as Exhibit A, lists its
“effective date” as “April 18, 2018” and lists “244 West 54" St., 9 fl., New York City, New
York, USA” as Abrams Gentile’s “principal place of business.” However, per the building
doorman and building tenant listing, as of April 18, 2018 no tenant resided at that address, and
Abrams Gentile was not located in that building.

138. The “License Agreement” states that Abrams Gentile “is a product and custom
accessory & boutique company. They are looking to bring style & fashion to all levels of
society. They also look to manufacturer (sic.) custom fashion product for both men and woman
and the like, designer and developer of various products for sale in the mass and boutique
markets, and is desirous of obtaining an exclusive license to sell INVENTION direct (sic) to
their other international customers hereinafter referred to as ‘TERRIRORY, ’(sic).”

139. Upon information and belief, this contract is a fake and a sham and is being used
to further perpetrate a fraud upon Ms. Porter and upon all InventHelp customers as a whole by
virtue of its inclusion in AIPA disclosure numbers. Ms. Porter did not know this — she assumed
that InventHelp was acting in good faith.

140. Ms. Porter spoke to Mr. DiResta several times via his InventHelp office number
in Pittsburgh, and corresponded with him on his InventHelp / Intromark email address,
JDiresta@intromark.com. She continued to express confusion about the concept of a “60-day

license” and why she needed to send InventHelp her tax information.
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141. InventHelp continued to aggressively pursue Ms. Porter, urging her to sign the
sham license agreement and the tax document, including repeatedly imploring her to provide her
social security number and repeatedly representing that a preliminary 60-day licensing
agreement was standard industry practice.

142. By email dated April 23, Joe DiResta stated, “I left a vm for you when you get a
chance please execute the below docs if you need please reach out to call me.”

143. By email dated April 24, 2018, (11:22 am), Ms. Porter informed Joe DiResta at
InventHelp / Intromark that she needed time to think about it.

144. By email dated April 24, 2018 (11:44 am), JDiresta@intromark.com replied,
“Thank you so much for reaching out. If you have any questions please give me a call. I just
wanna get everything wrapped up before the company changes there (sic.) mind. I look forward
to hearing from you have a great week!! Joey, Joseph DiResta, The Director of Product
Development InventHelp/Intromark.”’

145. On Wednesday April 25, 2018, Ms. Porter called Mr. DiResta at his InventHelp
Pittsburgh number at approximately 3pm. She told him that she had some questions and that she
did not understand the Abrams Gentile offer. Mr. DiResta told her that he was on the other line
with Hong Kong negotiating a license agreement and abruptly hung up.

146. Ms. Porter and Mr. DiResta had several more conversations in which Ms. Porter
expressed confusion about the deal and questioned Mr. DiResta about the need for her to send
InventHelp a W-9 tax form.

147. On the morning of April 30, 2018, Ms. Porter received multiple telephone calls

from 1-412-288-1300, InventHelp’s Pittsburgh number. She picked up a call approximately
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11am, and spoke to Mr. DiResta, telling him that she did not feel comfortable with her
understanding of the deal.

148. On the morning of May 2, 2018, Mr. DiResta called Ms. Porter again. He told her
that Abrams Gentile wanted to pay her $500 immediately and that if she failed to jump on this,
she would probably lose the deal. Ms. Porter asked some more questions about the $500 check
she would receive if she signed the agreement. Mr. DiResta said that Ms. Porter would get the
$500 check within a week. When Ms. Porter again expressed reservations and lack of
understanding, Mr. DiResta emphatically told her that the work that she paid InventHelp to do
“was finally paying off’ because a company was extremely interested in her invention.

149. After the repeated and assurances from InventHelp, Ms. Porter finally decided to
move forward. She reasoned that InventHelp was an expert in these things and that per Mr.
DiResta’ s repeated representations, a 60-day license agreement was standard industry practice.

150. Ms. Porter informed Mr. DiResta on May 2, 2018 that she would sign the License
Agreement with Abrams Gentile Entertainment, and she faxed a signed copy to InventHelp’s
Pittsburgh Headquarters at 1-412-338-0497.

151. Mr. DiResta responded via email at 12:10 pm, “Hi Sherry are you going to be
sending me the W9 under a separate cover? Joseph DiResta, The Director of Product
Development InventHelp/Intromark.”

152. Ms. Porter responded, “Joe we talked about the W9 and I am not comfortable
sending that at this time.”

153. Mr. DiResta then responded via email, “Thank you again!! Joseph DiResta, The
Director of Product Development InventHelp/Intromark.”

154. On May 4, 2018, Mr. DiResta emailed Ms. Porter and stated, “Hi Sherri!

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W9 all ok. Your check is going out in the next 7 days we have to wait for their check to clear.

Thanks Have great weekend!!”

155. Ms. Porter asked Mr. DiResta when she would receive a copy of the fully
executed License Agreement.

156. On May 4, Mr. DiResta responded that he was out of the office and would not
return until the week of May 14, at which time he would forward her the fully executed
agreement.

157. On or about May 4, a check in the amount of $500 was issued from “Intromark,
Inc., 217 Ninth Street, Pittsburgh, PA 15222” to Sherry Porter. The authorized signature bears
the name of Defendant Robert J. Susa. The memo notation states, “Royalty Advance.” A copy
of that check is attached hereto as Exhibit B.

158. Upon information and belief, as of the date of the sham licensing agreement, there
already existed on the market scores of dog collars embedded with LED lights, and an entity called
Abrams Gentile Entertainment did not exist and/or did not agree to license Ms. Porter’s product
for 60 days.

159. By email dated May 16, 2018, Mr. Diresta emailed Ms. Porter a purported copy of
the fully executed license agreement.

160. Ms. Porter asked Mr. Diresta if the company was interested in her idea, and if so,
when she would begin to receive royalties.

161. By email dated May 16, 2018, Mr, Diresta responded that he spoke via telephone

with someone from Abrams Gentile Entertainment, and that “they are reviewing and are not

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doing anything till we see where they are at the end of this review period.” Upon information
and belief, this was a lie.

162. On January 28, 2019, Ms. Porter received a Form 1099 in the mail representing
that she was paid $500 for “Royalties” from Intromark. That form is attached hereto as Exhibit
C.

163. Ms. Porter never heard from InventHelp again.

164. From 2013 through May 2018, InventHelp strung Ms. Porter along, providing her
with false AIPA disclosures, falsely representing that it was working on her behalf, even going
so far as to present her with a sham licensing agreement and an InventHelp company check
signed by Defendant Susa for $500, fraudulently representing that it was in exchange for a “60-
day license” of Ms. Porter’s unpatented idea.

165. Upon information and belief, InventHelp includes “60-day license agreements”
like the one sent to Ms. Porter in its AIPA disclosures, fraudulently and falsely representing to
each and every InventHelp customer and potential customer the number of license agreements
received by clients by virtue of InventHelp’s services.

166. Those agreements inevitably ‘fall through.’ After receipt of the $500 checks,
InventHelp customers never hear from InventHelp again, or, are told by InventHelp that the
sham companies decided not renew the 60-day licenses. In the meantime, InventHelp uses these
false numbers in its disclosures to each and every client and potential client and in its tax filings
with the U.S. and Pennsylvania government.

167. Indeed, in addition to the stories of Sherry Porter and Cynthia Gray detailed

herein, counsel is in possession of other, nearly identical, “60-day license agreements” on behalf
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of bogus companies, sent by InventHelp to InventHelp customers. Attached hereto as Exhibit D
is one such sham agreement and a copy of a $500 check purportedly related thereto.

168. Online message boards also contain comments and confusion from InventHelp
clients about the $500 agreements and checks.

169. Sadly, Ms. Porter’s experience is not unique.

170. In 2014, Plaintiff Cynthia Gray, a retired woman in her late 60’s, believed she had
created a new invention, “Hair Edges by Cynthia,” a hair band geared toward African American
women that seamlessly blends into a woman’s hair and fills thinning spots around the hairline.

171. Lured in by InventHelp’s television commercials, on August 6, 2014 Ms. Gray
met with InventHelp representative Richard Feldbush at InventHelp’s Dallas, Texas office. Mr.
Feldbush expressed extreme excitement over her idea and told her that it carried enormous
potential for profit due to the large size of the potential market. Despite intense pressure from
Mr. Feldbush, Ms. Gray did not sign any agreement that day.

172. OnSeptember 15, 2014 Cynthia met with Richard Feldbush again and signed the
Basic Information Package Agreement with Western InventHelp and a retail installment contract
with Universal Payment Corporation, for $845.00.

173. She was provided with purported AIPA disclosures at that meeting on behalf of
InventHelp. Those disclosures stated: “The total number of customers who have contracted
with InventHelp in the past 5 years is 8,268. The total number of customers to have received a
net financial profit as a direct result of invention promotion services provided by InventHelp is
unknown. However, the total number of clients known to have received more money than they

paid InventHelp for submission services as a direct result of these services is 37. The total

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number of customers known by InventHelp to have received license agreements for their
inventions as a direct result of InventHelp services is 209.”

174. These disclosure numbers are incorrect, false and fraudulent. Among other
things, the disclosure number as to license agreements is false because InventHelp includes
sham “60-day license agreements” in those numbers. Ms. Gray had no way of knowing this.

175. Ms. Gray was not presented with disclosures on behalf of Western InventHelp at
this meeting. However, Mr. Feldbush gave her the impression that InventHelp and Western
InventHelp were one and the same. Thus, she had no reason to believe that she should have been
provided with disclosures from Western InventHelp separate and apart from the InventHelp
disclosures.

176. As part of the Basic Information Package, Ms. Gray opted to receive a
Preliminary Patentability Opinion from Attorney Defendant Thomas Frost.

177. Ms. Gray signed a “Preliminary Patentability Search and Opinion Referral
Request.” InventHelp sent materials on her behalf to Attorney Defendant Frost.

178. Ms. Gray did not have a single meeting with Attorney Defendant Frost in which
she described or discussed the particulars of her invention.

179. Ms. Gray did not have a single telephone conversation with Attorney Defendant
Frost in which she described or discussed the particulars of her invention.

180. In or about October 2014 Ms. Gray received her Basic Information Package and
Preliminary Patentability Opinion from InventHelp’s Pittsburgh address, not Attorney Defendant
Frost.

181. The Preliminary Patentability Opinion is signed by Defendant Thomas Frost, a

patent attorney, and is presented on his letterhead.

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182. Ms. Gray was led to believe by InventHelp and the Frost Defendants that the
Patentability Opinion was drafted by an objective and independent registered patent attorney.
Upon information and belief, Defendant Frost receives all or a substantial percentage of his
business from Defendants and is neither independent nor objective.

183. The Preliminary Patentability Opinion includes a 7-page letter from the Frost
Attorney Defendants dated October 22, 2014. That letter only contains a single sentence very
generally describing Ms. Gray’s invention. The remainder describes considerations of utility
patents, design patents, the Leahy-Smith America Invents Act, foreign patent protection, and
other such legal issues generally applicable to any proposed invention. The letter concludes with
the statement: “it is my professional opinion that design patent protection should be available for
your invention.”

184. The October 22, 2014 letter from Thomas Frost asserts that he completed an
“international patentability search meeting the standards of the Leahy-Smith America Invents
Act.”

185. This letter, and the Thomas Frost P.A. Preliminary Patentability Opinion letters
sent to all InventHelp customers, are false and misleading. Mr. Frost did not have the ability to
conduct a proper patent search, and did not do so. Ms. Gray, a non-lawyer, did not know this.

186. Upon information and belief, the materials provided to Ms. Gray in connection
with the Basic Information Package are nothing but boilerplate drivel, meant to appear
professional, and are purposefully confusing so that unsuspecting inventors will proceed with
expensive “Submission Services” with InventHelp.

187. Upon information and belief, many Patentability Opinions provided to InventHelp

customers are not even researched or drafted by Mr. Frost or any other patent attorney. Instead,

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upon information and belief, InventHelp sends the searches to “Above Board Drafting, Inc., a
Florida corporation, or another such company. These outside companies perform the patent
searches, draft the ‘Patentability Opinions’ on attorney letterhead, and then send hundreds of the
Patentability Opinions to the Frost Defendants for the purpose of fraudulently representing that
the Frost Defendants prepared the opinions and searches.

188. Upon information and belief, Defendant Frost had first-hand knowledge of
hundreds of customers referred by InventHelp that were informed by Defendant Frost’s
Preliminary Patentability Opinions that their inventions were eligible to receive patents, but in
fact did not receive patents and complained that InventHelp is a fraud. Mr. Frost, an attorney
with a fiduciary duty to Ms. Gray, informed her of none of these facts.

189. Following her receipt of the Basic Information Package materials in late 2014,
Ms. Gray again met with InventHelp on or about January 27, 2015 at the urging of Mr. Feldbush,
who told her that they should meet to go over the wonderful results of the package.

190. Atthe January 27, 2015 meeting, Mr. Feldbush reviewed the Preliminary
Patentability Opinion with Ms. Gray, and explained that the Preliminary Patentability Opinion
showed that a design patent would be available for her invention, and that the overall results of
her package were very promising, especially in light of the “large market size” of the female
African American demographic.

191. Mr. Feldbush pressured Ms. Gray to sign a Submission Services contract. When
she expressed reservations about the extremely high cost of these services, Mr. Feldbush told her
that Paragraph 3 of the Submission Services contract protected her — that if she needed to stop

making payments she could do so and InventHelp would have no recourse.

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192. Excited by Mr. Feldbush’s representations, Ms. Gray signed a “Submission
Agreement” with Western InventHelp for $12,400, and an Intromark Proposal at the same exact
time. Richard Feldbush signed on belulf of InventHelp, Western InventHelp, and Intromark.
Those agreements are identical to those signed by all Named Plaintiffs herein and all proposed
class members.

193. Ms. Gray financed the Submission Agreement through her retail installment
contract with Universal Payment Corporation, which is identical to that signed by all Named
Plaintiffs and proposed class members.

194. Ms. Gray was provided disclosures from Western InventHelp at the January 27,
2015 meeting. The Western InventHelp disclosures state: “The total number of customers who
have contracted with the Invention Developer since 1985 is 59,495. The total number of
customers known by this invention developer to have received, by virtue of this invention
developer’s performance, an amount of money in excess of the amount paid by the customer to
this invention developer is 0.”

195. The Western InventHelp disclosures provided no information whatsoever as to
number of license agreements, and thus is ipso facto in violation of the AIPA.

196. To the extent the Western InventHelp disclosure is a stand-alone disclosure, it is
in violation of the AIPA because it omits the number of licensing agreements. To the extent the
Western InventHelp disclosure is a supplement to InventHelp disclosures signed at the same
time, the disclosures are in violation of the AIPA because their numbers contradict one another.

197. InventHelp AIPA disclosures signed in January 2015 state that “the total number
of customers known by InventHelp to have received license agreements for their inventions as a

direct result of InventHelp services is 209.”

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198. On August 26, 2015, InventHelp sent Ms. Gray a letter informing her that “the
final printing of your submission materials has been completed. We have enclosed copies for
your records and we have begun to submit these materials to [DataBank] companies.”

199. Thereafter, Ms. Gray began regularly receiving letters on InventHelp letterhead
representing that InventHelp had sent her idea to DataBank companies, which had signed
confidentiality agreements.

200. Ms. Gray believed, and was led to believe, that InventHelp was working on her
behalf.

201. However, many of these DataBank companies do not exist, did not sign
nondisclosure agreements, and/or do not have any relationship with InventHelp. For example,
by letter dated February 15, 2016, InventHelp sent Ms. Gray a purported DataBank list naming
the company “Sta-Rite Ginnie Lou” as one DataBank company to which InventHelp sent Ms.
Gray’s idea. Per Sta-Rite Ginnie Lou principals, that company has no relationship with
InventHelp, never had any such relationship with InventHelp, never signed any nondisclosure
agreement with InventHelp and never received any information about Ms. Gray’s invention from
InventHelp. Another company on that same list, ‘““Raani” does not appear to exist. A third
company, Crown Crafts, received unsolicited materials from InventHelp, but has no relationship
with InventHelp and has never signed any nondisclosure agreement with InventHelp.

202. Ms. Gray trusted the representations made in InventHelp’s letters, and did not
know these facts.

203. Ms. Gray believed, and was led to believe, that InventHelp was diligently
working on her behalf and that such efforts had the potential to lead to licensing or

manufacturing agreements for her. In truth, this is not the case.

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204. On July 17, 2018, Ms. Gray received a call from InventHelp’s Pittsburgh number,
412-288-1300. She was told that a company called “DRTD Products” was interested in a “‘60-
day license” of her product and would pay her $500.00.

205. She was excited that a company was interested in her invention, but she was
confused about the concept of a “60-day license.”

206. On July 19,2018 Ms. Gray sent InventHelp and email asking for clarification.

207. On July 19,2018 Ms. Gray received an email from Director of Product
Development InventHelp/Intromark Joe DiResta stating, “the company will review the item for
60 days (sixty days). For the time the company will pay you a fee of $500.00 (five hundred
dollars). All of the $500 Goes to you. If they decide not to move forward with your product the
deal automatically cancels.”

208. On July 19, 2018 Ms. Gray emailed Joe DiResta at InventHelp and again
expressed confusion about the terms of the deal.

209. In response, Joe DiResta, Director of Product Development
InventHelp/Intromark, told Ms. Gray to call him at InventHelp’s Pittsburgh number, 412-288-
1300. Ms. Gray called him immediately. He explained that it was a win-win situation for her — a
company would review her invention for 60 days, pay her to do so, and possibly would license
the product for more than 60 days, thereby potentially paying her even more money. He told her
that this was standard industry practice, and that it was precisely for this very reason that Ms.
Gray got involved with InventHelp in the first place. Ms. Gray then told InventHelp that she

wanted to proceed.

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210. On July 19, 2018 Joe DiResta sent Cynthia Gray an email attaching a ““60-day
license agreement” between Intromark Incorporated, Clear Innovation Inc., and Cynthia Gray”
and a W-9 tax form.

211. The purported ‘licensee,’ is listed as Clear Innovation Inc. in some parts of the
contract, and as “DRTV company” in others.

212. The purported license agreement bears the InventHelp file number for Cynthia
Gray’s invention.

213. The July 19, 2018 email transmitting the licensing agreement states: ““Hi Cynthia,
I hope this email finds you well, it was nice to speak to you. As we discussed the attached are
the contract and for accounting a W9 form because we are paying you $500. We need that for
year end tax reporting. ... Once we receive your page signed we will reach out to the company
for signature. Once the doc is fully executed and we should receive the funds; when the
company check clears our account you will receive the funds. This is a about 30 day process but
you can check in at any time thank you. Also attached is a financial doc W9 please fill out and
return for our accounting dept. or they will not cut the check. I need both docs filled out and or
signed and scanned back too or faxed to me before we can redistribute the funds. Thank you
very much. Fax number: 412-338-0497.”

214. That email, the purported license agreement, and W-9 accompanying tax form are
attached hereto as Exhibit E.

215. Onor about July 26, 2018 Ms. Gray signed the license agreement and W-9, and
faxed them to InventHelp’s Pittsburgh fax number. By email dated July 26, 2018 Mr. DiResta

confirmed that InventHelp received the documents.

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216. By email dated July 26, 2018 Ms. Gray asked Mr. DiResta for a fully executed
copy of the license agreement. He did not respond.

217. She called Mr. DiResta several times to inquire about the deal.

218. On August 2, 2018 Ms. Gray received a call from Mr. DiResta from InventHelp’s
Pittsburgh telephone number. He told her that the company named on the “60-day license
agreement,” backed out of the deal.

219. During that August 2, 2018 call, Mr. DiResta told Ms. Gray that luckily, a new
company was interested in her invention. He said he could just use the license agreement with
Clear Innovations / DRTV and tax form that she had already signed and faxed to InventHelp for
this new deal.

220. Ms. Gray was confused, and on August 2, 2018 she called InventHelp back and
asked Mr. DiResta if he had a new contract for her to review and sign. Mr. Diresta reiterated that
InventHelp could just use the existing, signed contract and tax form for the new company.

221. Ms. Gray did not understand how an entirely new company could use her “60-day
license agreement” with DRTV for this new deal. She repeatedly contacted InventHelp and Mr.
DiResta, but her calls and emails were not returned.

099, On August 20, 2018 Ms. Gray received a $500 check in the mail. The check is
dated August 16, 2018, is from Intromark, Inc., 217 Ninth Street, Pittsburgh Pa. It bears the
memo notation: DLL-2959 - ADVANCE ROYALTY, and is signed by Robert J. Susa. A copy
of that check is attached as Exhibit F hereto.

223. Ms. Gray was happy to receive the check and telephoned Mr. Diresta but could
not reach him. She then sent an email on August 20, 2018 stating, “Hello Mr. DiResta, I’m so

excited! I received the check in the mail today, but there was no letter indicating which company

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will be reviewing my invention. Can you send me the name of the company? Thank you,
Cynthia Gray.”

224. Neither Mr. DiResta nor InventHelp responded.

225. On August 30, 2018 Ms. Gray sent Mr DiResta another email stating, “Haven’t
heard from you in a while. I hope no news is good news. Has a company had a chance to review
my invention? And what is the name of the company? Just excited and anxious to see how
things are going.”

226. By email dated August 31, 2018, Mr. Diresta stated, “I am on vacation I am out of
the office sorry.”

227. Months passed and Ms. Gray never heard from anyone InventHelp despite
repeated calls.

228. Inor about late 2018, Ms. Gray received a Form 1099 from Intromark, indicating
a payment to her of $500.00, characterized as ‘“‘Royalties,” attached hereto as Exhibit G.

229. On December 31, 2018 Ms. Gray emailed JDiresta@intromark.com stating: “Mr.

 

Diresta, It’s been a while since I last heard from you. You indicated my invention was going to
be reviewed by a royalty company. Can you provide an update?”

230. Mr. Diresta responded that he was on vacation.

231. Following more silence and unanswered emails, Mr. Diresta finally called Ms.
Gray on January 30, 2019. He told her that the company decided not to move forward with her
invention, but that she should look for other companies to do so, and that InventHelp would also

keep looking for her.

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232. Ms. Gray emailed Mr. Diresta and asked him for the name of the company that
paid $500 for the 60-day license so that she could call the company herself and pitch her idea,
explaining that as the inventor of the product, she could best convey her vision.

233. Mr. Diresta called Ms. Gray from InventHelp’s Pittsburgh telephone number and
told her that he could not send the name and phone number of the company to her because “when
companies say ‘No,’ they mean ‘No.’”

234. Ms. Gray never heard from Joe DiResta again.

235. Upon information and belief, InventHelp routinely uses sham “‘60-day license
agreements” and $500.00 checks like those sent to Ms. Gray and Ms. Porter to falsify its AIPA
disclosures regarding the number of InventHelp clients who received license agreements by
virtue of InventHelp’s services.

236. Defendant Robert J. Susa signs all of the fraudulent $500 checks, with full
knowledge that they are not in exchange for purported “60-day license agreements,” but rather
that they are used to falsify InventHelp’s AIPA disclosures.

237. These are not real license agreements, and the companies on whose behalf they
are sent are not real — Mr. Susa, the President of all InventHelp Defendants named herein, has
full knowledge of this fact.

238. Indeed, Defendant Robert J. Susa is intimately involved in InventHelp’s fraud at
all levels. For example, InventHelp refers its clients to several patent attorney firms located
throughout the United States, including the now-defunct firm Crossley & Stevenson. These
patent attorneys apply for utility or design patents on InventHelp customers’ behalf.

239. Inor about late 2016, one such attorney, Tarley G. Stevenson, learned that her law

partner, Patricia K. Crossley, was engaging in fraud with the help of InventHelp.

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240. As aresult, attorney Tarley G. Stevenson sought to file a lawsuit and dissolve her
partnership with Patricia Crossley and InventHelp.

241. Upon learning this, Defendant Robert J. Susa personally called Ms. Stevenson and
repeatedly threatened and harassed her, pressuring her to cover up the fraud. Mr. Susa also
repeatedly threatened Ms. Stevenson that if she used InventHelp’s name in any lawsuit or filing
he would sue her for defamation.

242. Attached hereto as Exhibit H is an email dated August 28, 2018 from Tarley
Stevenson characterizing InventHelp as a “deceitful, despicable company” and stating that “Bob
Susa and his attorney at Fox Rothschild not only meddled in the lawsuit, but asked me to cover
up the close to $1M in fraud that my partner was responsible for . . . as a result of black-lining
federal documents and correspondence to clients. . . . “

243. In the Spring of 2018, Ms. Stevenson wrote a letter to Mr. Susa memorializing her
understanding of InventHelp’s fraud vis-a-vis the patent attorneys with whom InventHelp works.
Among other things, she complained about the patent attorneys’ lack of independence. She also
opined that the Thomas Frost Preliminary Patentability Opinions and searches “are an absolute
sham.” Mr. Susa personally responded with threats to Ms. Stevenson and her law practice.

244. From September 2014 through January 2019, InventHelp strung Ms. Gray along,
providing her with false AIPA disclosures, falsely representing that it was working on her behalf,
even going so far as to present her with a sham licensing agreement and an InventHelp company
check signed by Defendant Susa for $500, fraudulently representing that it was in exchange for a

“60-day license” of her unpatented idea.

245. Sadly, the stories of Ms. Gray and Ms. Porter are not unique.

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246. During 2012, Plaintiff Etta Calhoun, a retired grandmother in her 70’s, believed
that she had created a new invention, bed linens printed with words of Christian scripture. She
named her invention, “The Word of God Bedding.”

247. Etta saw various television spots advertising the services of the company
InventHelp and was struck by the advertisement’s cartoon image of a caveman sitting on a rock,
banging a wheel with a chisel.

248. On or about January 2012, Ms. Calhoun contacted InventHelp by telephone to
inquire about their services.

249. An InventHelp representative answered the telephone, took Ms. Calhoun’s name,
telephone number, and address, and promised that someone from the InventHelp team would
return her call shortly.

250. Onor about February 18, 2012, Plaintiff met with InventHelp at their offices
located at 11200 Broadway, Suite 2743, Pearland, Texas 77584 to inquire about whether her idea
was appropriate for their services. Upon entering InventHelp’s office, Plaintiff was given the
impression that InventHelp had successfully helped other inventors, and thus that they are a
reliable and reputable company. Defendants’ offices were decorated with supposed successful
inventions in order to further create the impression that the entity is a legitimate enterprise. Upon
information and belief, contrary to its purposeful impression, the Pearland, Texas office, and
most InventHelp offices throughout the country, are merely temporary rented space and not
permanent InventHelp locations.

251. At that meeting, Ms. Calhoun was assured by an InventHelp representative, Renee

Hopes, that her idea was not only viable, but that it was original and presented an excellent

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opportunity for profit. Upon information and belief, these statements were knowingly false
when made and/or were made with reckless disregard for their truth or falsity.

252. Upon information and belief, Plaintiffs idea was not novel, non-obvious, or
otherwise unavailable to the public, and several companies already manufactured and sold
products similar to Plaintiff's idea.

253. Upon information and belief, all Class Plaintiffs are given the impression by
Defendants that their proposed inventions are novel, marketable, and/or present excellent
opportunities for profit during their initial meetings with Defendants.

254. At that meeting, the InventHelp representative told Ms. Calhoun that she had a
great “add on” idea for Ms. Calhoun’s invention. In addition to linens with words of Christian
scripture, the pillowcases could have a “‘listening device” that would play audio recordings of
words of scripture. Ms. Calhoun agreed that this “add on” was a great idea.

255. Upon information and belief, InventHelp did not suggest the listening device
because it would add to the marketability and/or profitability of Ms. Calhoun’s invention.
Rather, unbeknownst to Ms. Calhoun, InventHelp suggested the listening device because the
addition of that device to Ms. Calhoun’s idea would render it potentially patentable, and would
thereby — the amount of money that Ms. Calhoun would pay to Defendants.

256. Upon information and belief, this strategy is employed by InventHelp
representatives when they are presented an idea that they believe may not be patentable.

257. Indeed, by letter dated June 18, 1999 to the U.S. Patent & Trademark Office from
a patent attorney who was employed by an InventHelp-affiliated patent law firm, the attorney

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stated that he was taught “how to make a ‘non-patentable’ invention ‘patentable’” by virtue of

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alterations to the nature and structure of consumers’ proposed inventions without consumers’
consent.

258. Ms. Calhoun was overjoyed that a seemingly experienced, reputable and
successful company, InventHelp, was impressed with her idea. She signed the “Basic
Information Package Agreement” and agreed to pay $780 for a “Basic Information Package
Report.”

259. As part of that contract, Ms. Calhoun signed InventHelp AIPA “Disclosures.”
One of those disclosures states, “The total number of customers who have contracted with
InventHelp in the past 5 years is 8,095. . . The total number of clients known to have received
more money than they paid InventHelp for submission services as a direct result of these services
is 38.”

260. However, another “Affirmative Disclosure Statement” on behalf of Western
InventHelp, signed and dated by Ms. Calhoun on that very same day, February 12, 2012, states,
“THE TOTAL NUMBER OF CUSTOMERS WHO HAVE CONTRACTED WITH THE
INVENTION DEVELOPER SINCE 1985 IS 53,037. THE TOTAL NUMBER OF
CUSTOMERS KNOWN BY THIS INVENTION DEVELOPER TO HAVE RECEIVED,

BY VIRTUE OF THIS INVENTION DEVELOPER’S PERFORMANCE, AN AMOUNT OF
MONEY IN EXCESS OF THE AMOUNT PAID BY THE CUSTOMER TO THIS
INVENTION DEVELOPER IS 0.”

261. To the extent the Western InventHelp disclosure is a stand-alone disclosure, it is
in violation of the AIPA because it omits the number of licensing agreements. To the extent the
Western InventHelp disclosure is a supplement to the InventHelp disclosure signed at the same

time, it is in violation of the AIPA because its numbers contradict those in the InventHelp

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disclosure. The InventHelp disclosure is inaccurate false and misleading because it includes the
sham 60-day license agreements as part of its numbers. Ms. Calhoun had no way of knowing
this.

262. At that meeting, InventHelp did not inform Plaintiff of, inter alia, the accurate
number of customers it had in the last five years, the number of positive and negative
evaluations, the accurate number of customers who received a net profit from inventions, the
accurate number of customers who received license agreements, or the names and addresses of
invention promotion companies with whom InventHelp or its officers were affiliated in the last
ten (10) years.

263. At that meeting, Renee told Ms. Calhoun that InventHelp would partner with her
for $9,950.00 for their “Submission Services.”

264. That amount was shocking and costly to Ms. Calhoun and she declined. She
agreed only to the $780 Basic Information Package Report.

265. At that time, Ms. Calhoun could not afford the $780 payment.

266. The InventHelp representative told her that InventHelp had a ‘relationship’ with a
“private money lender” and conveniently had a “Retail Installment Contract” from Defendant
Universal Payment Corporation on hand. That contract identifies the “Seller” as InventHelp, the
“Buyer” as Ms. Porter, and the “Assignee” as Universal Payment Corporation.

267. However, Ms. Calhoun’s first payment pursuant to that contract was charged to
“Techno InventHelp.”

268. After February 18, 2012, InventHelp repeatedly called Ms. Calhoun to urge her to
move forward with submission services. Ms. Calhoun again met with Renee Hopes

approximately one month later, on or about March 15, 2012, and was presented with a

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“Submission Agreement” for $9,950.00 at the meeting. However, the price was so
overwhelmingly high to Ms. Calhoun that she left the meeting without committing to the
contract.

269. Thereafter, Ms. Calhoun was again repeatedly called by InventHelp.

270. Upon information and belief, these calls came from InventHelp’s Pittsburgh,
Pennsylvania office.

271. Ms. Calhoun did not want to speak with anonymous sales agents. Instead, she
tried calling Renee Hope, with whom she had met. However, she was told that Renee was no
longer with the company. Throughout the process, Ms. Calhoun was repeatedly told that certain
representatives with whom she spoke or met had left, and was juggled from person to person.
Upon information and belief, this is common practice of Defendants.

272. Ms. Calhoun eventually connected with a sales representative named Heather.
Heather spoke with Ms. Calhoun frequently and told her that “The Word of God Bedding” idea
was brilliant, that she had never seen anything like it, that she would buy it, and that if Ms.
Calhoun moved forward with InventHelp she would have a great chance of profiting from her
invention. Ms. Calhoun was extremely apprehensive about spending close to $10,000, a
tremendous amount of money, and repeatedly asked Heather’s opinion. Heather at all times
unequivocally told her to go forward. Upon information and belief, Heather’s representations on
behalf of InventHelp were false or made with reckless disregard for the truth.

273. Onor about April 2012, Ms. Calhoun received the “Basic Information Package”
and “Preliminary Patentability Search and Opinion” from InventHelp’s Pittsburgh address.

274. The Preliminary Patentability Search and Opinion is signed by Defendant Thomas

Frost, a patent attorney, and is presented on his letterhead. Ms. Calhoun had no conversations or

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direct communications with Mr. Frost concerning her proposed invention, nor did she ever sign
an independent engagement letter with Mr. Frost or his law office.

275. Ms. Calhoun was led to believe that the Patentability Opinion was drafted by an
objective and independent registered patent attorney. Upon information and belief, Defendant
Frost receives all or a substantial percentage of his business from Defendants, and is not
independent nor objective.

276. The 8-page Preliminary Patentability Opinion is dated April 5, 2012, and contains
a single sentence generally describing Ms. Calhoun’s invention. It then contains pages of
generalized legal information applicable to any and all United States patents. The letter
concludes: “Therefore, it is my professional opinion that design patent protection should be
available for your invention.”

277. Upon information and belief, the Patentability Opinion provided to Ms. Calhoun
is nothing but boilerplate drivel, meant to appear professional, and is purposefully confusing so
that unsuspecting inventors, including Ms. Calhoun, will proceed with expensive “Submission
Services” with InventHelp.

278. Upon information and belief, many Patentability Opinions provided to InventHelp
customers are not even researched or drafted by Mr. Frost or any other patent attorney. Instead,
upon information and belief, InventHelp sends the searches to Defendant ““Above Board
Drafting, Inc., a Florida corporation. Upon information and belief Above Board Drafting
performs the patent searches, drafts the ‘Patentability Opinions’ on attorney letterhead, and then
sends hundreds of the Patentability Opinions to patent attorneys engaged by InventHelp for the

purpose of fraudulently representing that those attorneys prepared the opinions and searches.

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279. Upon information and belief, Mr. Frost had first-hand knowledge of hundreds of
customers referred by InventHelp that did not receive utility patents and complained that
InventHelp is a fraud. Mr. Frost, an attorney with a fiduciary duty to Ms. Calhoun, informed her
of none of these facts.

280. Independently, the “Basic Information Package” received by Ms. Calhoun is also
constructed to appear professional and well thought out, when, in truth and in fact, it is nothing
more than loosely-related cut and pasted information, placed into a hard-bound book with Ms.
Calhoun’s name on the first page.

281. Although purporting to be an end in itself, in truth and in fact the Basic
Information Package and Preliminary Patentability Opinion is part of Defendants’ ploy to
convince consumers that their inventions are marketable, and con them into signing contracts for
the more expensive Submission Services.

282. Upon information and belief, the ‘Basic Information Package’ is merely the first
step in InventHelp’s scheme to draw aspiring inventors into spending tens of thousands of dollars
on additional services. InventHelp and Mr. Frost did not disclose this, nor did they disclose that
the purpose of their next meeting would not be to review the book, but rather to “upsell” Ms.
Calhoun on to another, more costly and involved, package.

283. Following receipt of the “Basic Information Package,” Ms. Calhoun was again
contacted by InventHelp. The professed reason for those calls was to set up a meeting to go over
the Basic Information Package. In truth and in fact, the real reason for those calls and
subsequent meeting was to “upsell” Ms. Calhoun on the costly Submission Services Agreement.

284. Onor about August 2, 2013, Ms. Calhoun met with InventHelp representative Joy

Hinson at 2002 Timberloch Place, Suite 200. The Woodlands, Texas 77380. Ms. Hinson told

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Ms. Calhoun that InventHelp was wrapping up a special offer, and that it was on or about the last
day to receive a $1,000.00 discount for “Submission Services.”

285. At this meeting, Ms. Calhoun expressed concern about the high cost of these
services and her ongoing ability to make payments.

286. Ms. Hinson pressured Ms. Calhoun. She also explained that Ms. Calhoun could
use her contract with Universal Payment Corporation to finance the submission services. Ms.
Hinson also told Ms. Calhoun that pursuant to Paragraph 3 in the Submission Services
agreement, if Ms. Calhoun were ever to be in a position where she could not make the monthly
payments, InventHelp would have the right to cease services on her behalf, but nothing more.

287. Ms. Calhoun signed a “Submission Agreement” with Western InventHelp for
$8990. Upon information and belief, all “Submission Agreements” with InventHelp and/or
Western InventHelp are identical and are governed by the law of the Commonwealth of
Pennsylvania.

288. That Submission Agreement states, “WESTERN INVENTION SUBMISSION
CORPORATION (WISC) is the name of the corporation contracting to perform the invention
development services. WISC is operating under its registered name, Western InventHelp. There
are no parent, subsidiary or affiliated companies that will engage in performing invention
development services under this Contract except for INVENTION SUBMISSION
CORPORATION, an affiliate, and TECHNOSYSTEMS SERVICE CORPORATION, an
affiliate. Company is also affiliated with INTROMARK INCORPORATED, which attempts to
market inventions where substantial interest has been expressed in accordance with paragraph

1.N above.”

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289. The Submission Agreement states, among other things, that “InventHelp will
prepare a New Product Submission Brochure, which shall include a description of the invention,
benefits and features, a 3D graphic or other illustration in color, Standard Industrial
Classification (SIC) codes and suggested distribution channels.”

290. The Submission Agreement states, “InventHelp maintains a Data Bank of
companies that have registered to receive our clients’ submission materials on an ongoing basis. .
.. InventHelp will submit Client’s invention, product or idea to Data Bank companies in an
attempt to obtain a good faith review as set forth in more detail below.”

291. The Submission Agreement states, “Companies registered in our Data Bank have
agreed to review submission materials submitted to them by InventHelp in confidence and have
signed confidentiality and non-use agreements.”

292. The Submission Agreement states, “DataBank companies that we have attempted
to match with your invention will be sent a copy of Client’s New Product Submission Brochure.
This is how Data Bank companies may encounter, receive or see your invention and are then in a
position to decide whether to conduct a good faith review.”

293. The Submission Agreement states, “Client agrees that InventHelp shall have the
exclusive right to submit the idea, invention or product which is the subject of this Agreement,
for the sole purpose of attempting to obtain a good faith review and reviewing any interest
expressed including the right to use designs, models, patents issued and pending... .”

294. AIPA disclosures provided to Ms. Calhoun with her August 8, 2013 Submission
Agreement state: “THE TOTAL NUMBER OF CUSTOMERS WHO HAVE CONTRACTED

WITH THE INVENTION DEVELOPER SINCE 1985 IS 56,345. THE TOTAL NUMBER OF

CUSTOMERS KNOWN BY THIS INVENTION DEVELOPER TO HAVE RECEIVED, BY

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VIRTUE OF THIS INVENTION DEVELOPER’S PERFORMANCE, AN AMOUNT OF
MONEY IN EXCESS OF THE AMOUNT PAID BY THE CUSTOMER TO THIS
INVENTION DEVELOPER IS 0.”

295. AIPA disclosures signed in connection with a 2016 Western InventHelp
Submission Agreement obtained from a potential Class Member state, “From 2013-2015, we
signed Submission Agreements with 6,076 clients. As a result of our services 153 clients have
received license agreements for their products, and 27 clients have received more money than
they paid us for these services.”

296. Submission Agreements signed in 2018 obtained from potential Class Members
state, “from 2015-2017, we signed Submission Agreements with 6,564 clients.” Those
agreements state, “We charge $975 for a Basic Information Package. We charge from $11,900
to $16,900 for our marketing, licensing or promotional services.”

297. Submission Agreements signed in 2018 obtained from potential Class Members
state, “The total number of customers who have contracted with InventHelp in the past 5 years is
10,272.”

298. Submission Agreements signed in 2018 obtained from potential Class Members
state, “The total number of customers to have received a net financial profit as a direct result of
invention promotion services provided by InventHelp is unknown. However, the total number of
clients known to have received more money than they paid InventHelp for submission services
as a direct result of these services is 61.”

299. Onor about April 23, 2014, Ms. Calhoun received a letter from InventHelp on

InventHelp’s letterhead stating that “Your New Product Submission Brochure was mailed to the

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companies on the enclosed report listed as “Data Bank.” Attached to that letter is a list of 20
“Data Bank” companies.

300. Upon information and belief, this list of Data Bank companies, and Data Bank
company lists sent to all InventHelp customers, are shams. Some of the companies do not exist
and are purposefully misspelled to resemble actual existing companies that have no relationship
with InventHelp (for example, listing the company as ‘Inc.’ instead of ‘LLC’). Other “Data
Bank” companies claim to have no relationship with InventHelp, and have not signed any
confidentiality agreements, or any agreements whatsoever, with InventHelp. Upon information
and belief, some of the companies are sham companies and/or are affiliated with InventHelp.

301. For example, one company named on InventHelp’s DataBank list sent to Ms.
Calhoun on April 23, 2014 is “Kerruso” located in Arkansas. Upon information and belief, there
is no company with that name. However, there is a company in Arkansas called Kerusso, which
is a Christian clothing store. Per Mr. Steve Gates, Controller of Kerusso, the company has no
relationship with InventHelp and has never signed any nondisclosure agreement with
InventHelp.

302. Perhaps most disturbingly, some of the entities listed as Data Bank companies by
InventHelp have in fact agreed to review invention ideas. However, in the rare instances that
these companies express interest in an invention and attempt to contact InventHelp to proceed
further, InventHelp does not return the calls. These companies are provided no contact with
InventHelp other than the 1-800 customer numbers advertised to the public on InventHelp’s
television commercials, and calls to these numbers on behalf of companies that actually want to

proceed are often not returned.

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303. For example, by letter dated April 23, 2014, InventHelp represented to Ms.
Calhoun that it sent her invention description to “Robert Gaspard Co., Inc.,” an online Christian
store selling vestments and other such items. Jason Gaspard, principal of that company,
represented that he does in fact receive brochures from InventHelp, but that there have been
times when he has called InventHelp to follow up about particular products, but that InventHelp
never responded to any of his inquiries.

304. Upon information and belief, InventHelp has no infrastructure to deal with
companies that actually want to proceed with ideas. Rather, InventHelp’s business model is to
take consumers’ money with absolutely no intention to follow up with any outside company that
may be interested in a prospective inventor’s idea.

305. Ms. Calhoun believed that InventHelp was working with her in good faith, and
that the DataBank companies received confidential descriptions of her Word of God Bedding.

306. Atthe August 2, 2013 meeting, Ms. Calhoun also signed an “Intromark Proposal”
with Intromark Incorporated. The Intromark Proposal provides that the contract ‘“‘shall remain in
effect for a period of twenty-four (24) months. This will automatically renew for an additional
three years unless terminated in writing by Client upon thirty (30) days’ written notice prior to
the expiration of the original term of this Agreement.”

307. All individuals who sign Submission Agreements with InventHelp also sign
“Intromark Proposals” with Intromark at the very same time, both signed by the same
InventHelp representatives. Although these contracts are signed at the exact same time, and by
the exact same signatories, they each contain integration clauses. Thus, it is unclear which, if

any, integration clause controls.

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308. Moreover, although the various agreements purport to be on behalf of different
entities, Named Plaintiffs, and all class members, receive mail only from InventHelp, bearing
InventHelp’s header on the stationary. All contracts are signed at the same time by the same
InventHelp representatives.

309. The Intromark contract states, “Intromark has agreed to attempt to market
inventions, ideas or products only where substantial interest has been expressed, or where in
Intromark’ s sole discretion it wishes to undertake said marketing effort.”

310. The Intromark contract states, “Client further agrees that Intromark during the
term of this Proposal shall have the exclusive right to negotiate, and to execute contracts on
Client’s behalf for the sale and licensing of the idea, invention or product.”

311. By letter dated August 26, 2014, InventHelp sent Ms. Calhoun a “copy of your
completed Virtual Invention Presentation (VIP) which is a DVD containing 3-D renderings” of
Ms. Calhoun’s Invention. InventHelp represented that ‘“‘We will send your VIP to any
InventHelp Data Bank that may specifically request it.”

312. Ms. Calhoun was extremely distressed when she viewed the DVD. It was
shoddily-done, and, to her dismay, did not present her “Word of God Bedding” in an attractive
light.

313. Ms. Calhoun immediately called InventHelp to express her disappointment and
concern. An InventHelp representative assured Ms. Calhoun that the ‘“‘Word of God Bedding”
was purposefully presented in this way because, otherwise, “someone could steal your idea.”
Upon information and belief, this was a lie. However, Ms. Calhoun took InventHelp at its word

— after all, she thought, they were the experts and she was merely a layperson.

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314. By letter dated December 10, 2015, InventHelp stated, “In accordance with your
Intromark Proposal we will continue to follow up with any company who may express an
interest in your invention as a result of our efforts for 3 additional years.”

315. By letter dated March 8, 2016, InventHelp informed Ms. Calhoun “Your New
Product Submission Brochure was mailed to the companies on the enclosed report listed as ‘Data
Bank.’” The letter provides, “We will inform you of any inquiries we may receive as a result of
our submission efforts.” Attached to that letter is a list of 50 “Data Bank” companies.

316. Upon information and belief, InventHelp does not have relationships with these
companies, many of these companies did not sign nondisclosure agreements with InventHelp,
and, to the extent some of these companies actually exist, none of these companies have ever
licensed a product from InventHelp and/or Intromark.

317. As of March 8, 2016, Ms. Calhoun believed, and was led to believe, in
furtherance of Defendants’ scheme, that InventHelp was still fulfilling its contractual and
statutory obligations to her. In truth and in fact, they were not.

318. Throughout this entire process, up to and including the present, Ms. Calhoun has
been dutifully making monthly payments to Universal Payment Corporation. While there were
certain times where she felt financially constrained and was unable to make payments, even then,
she would send $10 or $15 to Universal Payment Corporation monthly because she wanted to be
“honest” and “keep [her] end of the bargain.”

319. At various points between 2013 to date, Universal Payment Corporation contacted
Ms. Calhoun by telephone and mail, telling her to pay amounts owing on the contracts and
threatening that if she fails to do so, she will be reported to Credit Agencies and her credit will be

otherwise damaged and/or destroyed.

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320. In sum, all “efforts” made on Ms. Calhoun’s behalf by Defendants in order to help
her “commercialize her invention” are lies and scams. Defendants, contrary to their written and
verbal representations, have no meaningful interest or investment in fulfilling their contractual
promises; rather, their business model is based upon receipt of Submission Service fees, and
nothing more. Moreover, the AIPA statutorily-mandated disclosures presented to Ms. Calhoun
and the other Named Plaintiffs herein are inaccurate, misleading, and fraudulent.

321. Attached hereto as Exhibit I is a screenshot of an online video advertisement sent
by InventHelp to Plaintiffs and available for viewing by the public at large. That advertisement
states: “More than 8,000 Companies in the InventHelp DataBank.” The advertisement then
flashes the names and logos of dozens of reputable and well-known companies, such as Cabela’s,
Toro, Heinz, waterpik, Elmer’s Glue, Kraft, Clorox, Bosch, among others. The message
conveyed by this advertisement is false, ambiguous and deceptive because, among other things,
InventHelp has no relationship with these entities (including the fact that they are not registered
in InventHelp’s Database) and is unaware of any InventHelp client who worked with any of
these entities by virtue of InventHelp’s so-called services.

322. Attached hereto as Exhibit J is a screenshot of an online advertisement sent by
InventHelp to Plaintiffs and available for viewing by the public at large. The advertisement
states: “InventHelp’s Inpex Product Searches” and then flashes the names and logos of various
well-known companies, including “Tupperware,” Rubbermaid,” “green works,” Glad,” “Tilex,”
Kraft,” Elmers,” Walmart,” “K-Mart,” Autozone,” “Mucinex,” Woolite,’” and “Clearasil,” among
others. The message conveyed by this advertisement is false, ambiguous and deceptive because,

among other things, InventHelp has no relationship with these entities (including the fact that

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they are not registered in InventHelp’s Database) and is unaware of any InventHelp client who
worked with any of these entities by virtue of InventHelp’s so-called services.

323. Upon information and belief, Defendants’ acts have the same or similar purposes
and results (i.e. carry out a scheme to defraud Plaintiff and Class Members of money),
participants (i.e. Defendants), victims (i.e. the Plaintiff and Class Members), methods of
commission (i.e. using television, telephone, in-person meetings, mail and internet networks to
falsely represent to Plaintiffs and Class Members that the inventions were patentable, profitable
and that Defendants’ were fulfilling their contractual and statutory obligations), and are not
isolated events.

324. Upon information and belief, the acts described herein amount to continued
fraudulent activity and were committed by Defendants in furtherance of their continuing scheme
to defraud Plaintiffs and Class Members.

325. Moreover, the scheme described herein is a continuing operation and poses the
threat of continued fraudulent activity, preying upon unsuspecting victims. Defendants’ websites
and television commercials continue to tout their invention promotion services to lure potential
inventors to enter into contracts with Defendants for fraudulent invention promotion services.

326. Defendants defrauded other victims before, during and after they defrauded
Plaintiffs. The foregoing demonstrates that there is no obvious terminating goal or date for the
fraudulent activity; the foregoing acts are part of the Defendants’ ongoing, regular way of doing
business; and Defendants operate a long-term association that exists for criminal purposes (e.g.,
fraudulently inducing potential inventors to enter into contracts that obligate the inventors to pay

money to Defendants).

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327. Defendants’ conduct employs the use of the public telephone, television, U.S.
mail, and internet networks.

328. The injuries to Plaintiffs and the members of the class were caused by
Defendants’ scheme of fraudulently inducing Plaintiffs and Class Members, through false
disclosures, false promises, misrepresentations, and omissions, to enter into contractual
agreements.

329. The injuries to Plaintiffs and potential class members are ongoing — InventHelp
has publicly disseminated Plaintiffs’ invention ideas, thereby putting them in the public realm
and impacting potential patentability and profitability for Plaintiffs.

330. Furthermore, most of the misrepresentations and omissions alleged herein are

contained on Defendant’s websites.

CLASS ACTION ALLEGATIONS

331. Plaintiffs bring this suit individually and as a class pursuant to Federal Rule of
Civil Procedure 23, the requirements of such are met with respect to the class as defined below.

332. The Class consists of: All persons and entities in the United States and abroad
who purchased goods and/or services from Defendants from 2010 to present.

333. Subject to additional information obtained through further investigation and
discovery, Plaintiffs reserve the right to expand, narrow, or otherwise refine the foregoing
definition.

334. Excluded from the Class are Defendants; any parent, subsidiary, or affiliate of

Defendants; any entity in which any Defendant has or had a controlling interest or which

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Defendants otherwise control or controlled; any officer, director, legal representative,
predecessor, successor, or assignee of a Defendant.

335. This action is properly maintainable as a class action.

336. The Class is so numerous that joinder of all individual members in one action
would be impracticable. Submission Agreements signed in 2018 obtained from potential Class
Members state, “the total number of customers who have contracted with InventHelp in the past
10 years is 10,272.” Submission Agreements signed in 2018 from potential Class Members
state, “from 2015-2017, we signed submission agreements with 6,564 clients.” The exact number
of class members can be determined by appropriate discovery.

337. Plaintiffs’ claims are typical of the claims of the Class Members in that they all
signed identical contracts with Defendants and paid for the same services from Defendants.
Class members were all injured by the same wrongful conduct, namely, receipt of false and
misleading AIPA disclosures, as well as Defendants’ fraudulent course of conduct and policy.
The violations of the statutory and common laws and the relief sought herein are common to
Plaintiff and the members of the class.

338. By decision dated February 21, 2018, the Supreme Court of Pennsylvania in
Danganan v. Guardian Protection Services unequivocally held that a non-Pennsylvania resident
may bring suit under the Pennsylvania Unfair Trade Practices and Consumer Protection Law
against a Pennsylvania Commonwealth-headquartered business based on transactions that
occurred outside of Pennsylvania. Thus, a nationwide class is appropriate here.

339. There are questions of fact and law common to all Class Members that

predominate over questions which may affect individual members. These include the following:
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a. Whether the disclosures set forth in Defendants’ contracts and other paperwork and
advertisements, which are identical and uniform, are truthful and in compliance with
the American Inventors Protection Act of 1999, 53 U.S.C.A. § 297.

b. Whether Defendants’ advertisements and business practices are targeted to consumers
and violate the Pennsylvania Unfair Trade Practices and Consumer Protection Law,
73 P.S. Section 201-1, et seq.;

c. Whether Defendants’ advertisements improperly and deceptively represent that
InventHelp has relationships with certain big-box stores and well-known brands, such
as K-Mart, Carnegie Mellon University, durex, Resolve, Lysol, Bed Bath & Beyond,
Clorox, among others;

d. Whether Defendants’ acts as described herein constitute the unauthorized practice of
law;

e. Whether Defendants’ acts described herein constitute a mode and practice that
pervades the entire company and/or enterprise, including promulgating policies
and/or instruction to use common fraudulent practices;

f. Whether Defendants’ business model, which is uniformly applied and directed to all
of their customers, is in fact geared toward and/or effective in helping consumers
market and/or profit from their inventions, as Defendants claim in their
advertisements;

g. Whether Defendants made false and/or misleading statements to the Class and the

public at large concerning the legitimacy of their goods and services;

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h. Whether Defendants are responsible for the conduct alleged herein, which was and is
uniformly directed at all consumers who purchased Defendants’ products and
services;

1. Whether Defendants’ misconduct set forth herein demonstrates that Defendants
engaged in unfair, fraudulent, and/or unlawful business practices with respect to the
advertising, marketing and sale of their products and services;

j. Whether Defendants’ false and misleading statements were likely to deceive class
members;

k. Whether Defendants had a pattern or practice of making fraudulent and false
representations to consumers in order to induce them to sign contracts;

1. Whether Defendants had a pattern or practice of making fraudulent and false
representations to consumers regarding whether consumers’ ideas were likely to be
profitable;

m. Whether Defendants engaged in a conspiracy to work in concert to defraud Plaintiff
and Class members;

n. Whether Plaintiffs and the Class have sustained damages and, if so, the proper
measure thereof; and

o. Whether Defendants should be enjoined from the actions described herein.

340. Plaintiffs are adequate Class Representatives because their interests do not
conflict with the interest of the Class Members; their claims are common to all members of the
Class and are based upon the same facts (practice or course of conduct) undertaken by
Defendants’ with respect to all Class Members and are based upon the same legal theories;

Plaintiffs have strong interests in vindicating their rights. The Class Members’ interests will be

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fairly and adequately protected by Plaintiffs and counsel. Defendants have acted in a manner
generally applicable to the Class, making relief appropriate with respect to Plaintiff and the Class
Members.

341. Plaintiffs have retained counsel experienced and competent in the prosecution of
complex class action litigation and have been engaged and intend to continue to vigorously
prosecute this action. Plaintiffs and their attorneys are familiar with the subject matter of this
action and have already expended substantial hours ascertaining and investigating the allegations
herein.

342. Aclass action is superior to other available means for the fair and efficient
adjudication of the claims of the class members. Common issues of law and fact predominate, as
the primary focus is Defendants’ AIPA disclosures and uniform deceptive and misleading
practices.

343. The proposed class is (i) the surest way to fairly and expeditiously compensate so
large a number of injured persons that constitute the class; (ii) to keep the courts from being
inundated by thousands of repetitive cases; and (iii) to reduce transaction costs so that the injured
class members can obtain the most compensation possible. Accordingly, class treatment presents
a superior mechanism for fairly resolving similar issues and claims without repetitious wasteful
litigation.

344. Importantly, individual Class Members here lack resources to undertake the
burden and expense of individual prosecution of these claims. Individualized litigation increases
the delay and expense to all parties and multiplies the burden on the judicial system presented by

the complex legal and factual issues of this case. It also presents a potential for inconsistent or

contradictory judgments. In contrast, the class action device presents far fewer management

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difficulties and provides the benefits of a single adjudication, economy of scale, and
comprehensive supervision by a single court on the issue of Defendants’ liability.

345. Without a class action, Defendants will likely retain the benefit of their
wrongdoing and will continue a course of action which will result in further damages to Plaintiff
and class members.

346. The scheme described herein is a continuing operation and poses the threat of
continued fraudulent activity, preying upon unsuspecting victims. Defendants’ websites and
television commercials continue to tout their invention promotion services and falsely represent
affiliation with companies in order to lure potential inventors to enter into contracts with

Defendants for fraudulent invention promotion services.

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CLAIMS FOR RELIEF

 

COUNT I
Against InventHelp Defendants

(Violation of the American Inventors Protection Act of 1999, 35 U.S.C. § 297)

347. Plaintiffs reallege and incorporate herein by reference each and every foregoing
paragraph of this Complaint as if set forth in full.

348. Defendants are “invention promoters” and their agents, as defined by the
American Inventors Protection Act of 1999, 35 U.S.C. § 297 (“AIPA”). Defendants work in
concert to perpetrate this scheme.

349. The “Basic Information Package Agreements,” “Submission Agreements,” and
other contracts described herein are contracts for invention promotion services as defined by the
AIPA.

350. Plaintiffs and Class Members are customers as defined by the AIPA.

351. Defendants contracted with Plaintiffs and Class Members to provide them with
invention promotion services as defined by the AIPA.

352. Defendants violated the AIPA by not providing the proper disclosures to Plaintiff
and Class Members prior to entering into contracts for invention promotion services. As detailed
supra, Defendants’ purported disclosures are inaccurate, internally inconsistent, blatantly false,
and fraudulent. In addition to the sham licensing agreements explained herein, discovery will
unearth additional fraudulent practices that render all of Defendants’ AIPA disclosures false and
misleading.

353. InventHelp files fraudulent tax documents with the U.S. Federal government,
representing that clients received licensing agreements, when, in truth and in fact, these

purported ‘60-day licenses” are concocted solely for the purpose of bolstering InventHelp’s

AIPA disclosures — InventHelp includes the sham “60-day licenses” in their AIPA numbers,

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thereby falsely representing to existing and potential clients the number of InventHelp customers
who received licensing agreements. Discovery will unearth additional facts showing that
Defendants’ AIPA disclosures are false and fraudulent.

354. Defendants violated the AIPA by making materially false and fraudulent
statements to Plaintiff and Class Members, and are therefore liable for all damages prescribed by
the AIPA.

355. By reason of the foregoing, Defendants are liable to Plaintiff and the Class for
actual damages and statutory trebling of those damages, together with punitive damages,

attorneys’ fees, costs, and interest

COUNT II
Against InventHelp Defendants
(Violations of Pennsylvania Unfair Trade Practices And Consumer Protection Act, 73 P.S.
Section 201-1, et seq.)

356. Plaintiffs reallege and incorporate herein by reference each and every foregoing
paragraph of this Complaint as if set forth in full.

357. Section 201-2(3) of the Pennsylvania Unfair Trade Practices and Consumer
Protection Act (“UTPCPA”) defines “trade” and “commerce” to mean the “advertising, offering
for sale, sale or distribution of any services and any property, tangible or intangible, real, person
or mixed, and any other article, commodity, or thing of value wherever situate, and includes
trade or commerce directly or indirectly affecting the people of this Commonwealth.”

358. Defendants have engaged in trade and commerce in the Commonwealth of

Pennsylvania and nationally by marketing (including the production and airing of television and

internet advertisements starring George Foreman), offering for sale, and selling invention

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promotion services and intellectual property services directly to consumers of the
Commonwealth and nationwide.

359. Plaintiffs are consumers who purchased Defendants’ goods and services and have
suffered ascertainable loss.

360. Paragraph 5 of Defendants’ Submission Services contracts state: “InventHelp
agrees only to attempt to submit Client’s idea, invention or product to companies through
InventHelp’s standardized submission process as set forth in paragraph 1 above and to review
any interest which may be expressed. Client wishes to retain InventHelp’s services to see
Client’s idea presented in a favorable light and to have the satisfaction of having made an effort.”

361. Inthe course of advertising, marketing, promotion, offering for sale and selling
invention promotion services Defendants have represented that they have helped consumers
monetize their inventions, that they are affiliated with certain institutions (such as Carnegie
Mellon University) and have confidentiality agreements with DataBank companies, that their list
of DataBank companies is a legitimate and useful mechanism for Plaintiffs seeking to market
their inventions, and that consumers’ proposed inventions’ will be displayed at Defendants
INPEX trade shows, when, in truth and in fact, many DataBank companies do not exist, do not
have relationships with Defendants, and/or are not appropriate companies to manufacture,
license and/or market Plaintiff consumers’ proposed inventions, Defendants are not affiliated
with Carnegie Mellon University (and other such reputable institutions), and consumers’
inventions are not, in fact, presented and/or displayed at INPEX.

362. Attached hereto as Exhibit I is a screenshot of an online video advertisement sent

by InventHelp to Plaintiffs and available for viewing by the public at large. That advertisement

states: “More than 8,000 Companies in the InventHelp DataBank.” The advertisement then

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flashes the names and logos of dozens of reputable and well-known companies, such as Cabela’s,
Toro, Heinz, waterpik, Elmer’s Glue, Kraft, Clorox, Bosch, among others. The message
conveyed by this advertisement is false, ambiguous and deceptive.

363. Attached hereto as Exhibit J is a screenshot of an online advertisement sent by
InventHelp to Plaintiffs and available for viewing by the public at large. The advertisement
states: “InventHelp’s Inpex Product Searches” and then flashes the names and logos of various
well-known companies, including “Tupperware,” Rubbermaid,” “green works,” Glad,” “Tilex,”
Kraft,” Elmers,” Walmart,” “K-Mart,” Autozone,” “Mucinex,” Woolite,” and “Clearasil,’’ among
others. The message conveyed by this advertisement is false, ambiguous and deceptive.

364. Defendants’ acts and practices are likely to confuse or mislead consumers acting
reasonably under the circumstances into believing that the Defendants are a legitimate enterprise,
that Defendants have relationships with the companies and products listed on Exhibits I and J,
and that Defendants’ services are tailored to help inventors monetize their inventions. In truth
and in fact, Defendants’ services are tailored to extract as much money from Plaintiffs as
possible, have little to no utility for Plaintiffs, and are in fact a fraud.

365. InventHelp fraudulently targets minorities and women through the use of
misleading websites, including www.black-inventor.com and www.women-inventor.com. These
websites, although purporting to be educational pages, are in fact InventHelp advertisements.

366. Defendants often offer to give Class Plaintiffs “discounts” that are ‘‘about to
expire.” If Class Plaintiffs request time to think about signing the contracts and/or making the
substantial monetary commitment, Defendants inform them that the discount will be revoked if

they do so. Upon information and belief, these discounts and specials are shams.

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367. Ifand when Class Plaintiffs express questions or concerns about forfeiting any
legal rights that they may have, Defendants’ deceptively point out provisions in the purported
contracts that appear to retain Class Plaintiffs’ rights (such as Paragraph 3 of the Submission
Services contract). Defendants also falsely state that the contracts are “no risk” when in fact they
are not.

368. Defendants have therefore engaged in unfair and deceptive acts and practices in
violation of 73 Pa. Cons. Stat. Section 201-2(4).

369. The acts and practices described supra and below constitute violations of
UTPCPL:

(a) Passing off goods or services as those of another;

(b) Causing likelihood of confusion or of misunderstanding as to the source,
sponsorship, approval, or certification of goods or services;

(c) Causing likelihood of confusion or of misunderstanding as to affiliation,
connection or association with, or certification by, another;

(d) Using deceptive representations or designations of geographic origin in
connection with goods and services;

(e) Representing that goods or services have sponsorship, approval,
characteristics, ingredients, uses, benefits or quantities that they do not have or
that a person has sponsorship, approval, status, affiliation or connection that
he does not have;

(f) Representing that goods and services are original when they are in fact not;

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(g) Representing that goods or services are of a particular standard, quality or
grade, or that goods are of a particular style or model, when they are of
another;

(h) Advertising goods or services with intent not to sell them as advertised;

(1) Advertising goods or services with intent not to supply reasonably expectable
public demand;

(j) Making false or misleading statements of fact concerning the reasons for,
existence of, or amounts of price reductions;

(k) Failing to comply with the terms of written guarantees, warranties, and
contracts;

(1) Knowingly misrepresenting that services are needed when they are not
needed;

(m) Making repairs, improvements or replacements on tangible, real or personal
property, of a nature or quality inferior to or below the standard of that agreed
to in writing;

(n) Making solicitations for sales of goods or services over the telephone without
first clearly, affirmatively and expressly stating the seller, purpose of the call,
and nature of the goods and services;

(o) Using a contract, form or other document related to consumer transactions that
seeks to waive consumer’s right to assert a legal defense to an action; and

(p) Engaging in any other fraudulent or deceptive conduct which creates a

likelihood of confusion or of misunderstanding.

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370. Defendants have repeatedly and persistently engaged in material deceptive or
misleading consumer-related business practices, i.e., advertising, publishing and selling
invention promotion, patent, manufacturing, licensing and consultation services that they do not
(nor intend to) provide, misrepresenting the viability and potential profitability of Plaintiffs’
proposed inventions, and lying and/or coercing Plaintiffs into signing fraudulent contracts.

371. The implementation, publication, and dissemination of Defendants’ invention
promotion, patent, manufacturing, licensing and consultation services has been, and continues to
be, materially misleading and deceptive to members of the Class and to Plaintiff in material
respects.

372. The implementation, publication, and dissemination of Defendants’ invention
promotion, patent, manufacturing, licensing and consultation services are directed toward
consumers and have a broad negative impact on the general public, including Plaintiff and
members of the Class.

373. Plaintiff and Class Members have been injured by reason of being deceived by
Defendants into paying Defendants for purported services that Defendants did not (and did not
intend to) provide.

374. Defendants’ deceptive practices were and are consumer-oriented. Defendants
advertise via television commercials and internet web pages, among other things, thereby
deceiving and attracting large numbers of consumers.

375. Defendants’ material misrepresentations were and are substantially uniform in
content, presentation and impact upon consumers at large.

376. Plaintiff and other members of the Class entered into agreements with Defendants

herein and suffered ascertainable loss as a direct and proximate result of Defendants’ actions.

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377. Defendants’ misconduct described herein was intentional, willful, malicious, and
in blatant disregard of, or grossly negligent and reckless with respect to, Plaintiffs and the other
members of the Class. Defendants are therefore additionally liable for treble and punitive

damages, in an amount to be determined at trial, as well as attorneys’ fees and costs.

COUNT Ill
Against InventHelp Defendants
(False Advertising In Violation of The Lanham Act,
15 U.S.C. § 1125(a))

378. Plaintiff realleges and incorporates herein by reference each and every foregoing
paragraph of this Complaint as if set forth in full.

379. Alternatively, if the Court finds that Plaintiffs are not “consumers” as defined by
the UTPCPA, then Plaintiffs assert that they fall within the statutory zone of interest of the
Lanham Act such that they may assert claims pursuant thereto.

380. Defendants’ ubiquitous late-night television and internet commercials, featuring a
cartoon image of a caveman sitting on a rock, banging a wheel with a chisel, promise consumers
that InventHelp has contracts with thousands of companies that are looking for new ideas. The
commercials state, “We keep your idea confidential’; ““We explain every step of the invention
process”’; ‘“We create professional materials representing your idea and submit it to companies
who are looking for new ideas”; ‘““We have more than 9,000 companies who have agreed to
review ideas, in confidence,” among other representations.

381. In truth and in fact, InventHelp does not keep its customers’ ideas confidential,

does not have relationships with “more than 9,000 companies who have agreed to review ideas,

in confidence” and does not provide customers with “professional looking materials.”

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382. Attached hereto as Exhibit I is a screenshot of an online advertisement sent by
InventHelp to Plaintiffs and available for viewing by the public at large. That advertisement
states: “More than 8,000 Companies in the InventHelp DataBank.” The advertisement then
flashes the names and logos of dozens of reputable and well-known companies, such as Cabela’s,
Toro, Heinz, waterpik, Elmer’s Glue, Kraft, Clorox, Bosch, among others. The message
conveyed by this advertisement is false, ambiguous and deceptive.

383. Attached hereto as Exhibit J is a screenshot of an online advertisement sent by
InventHelp to Plaintiffs and available for viewing by the public at large. The advertisement
states: “InventHelp’s Inpex Product Searches” and then flashes the names and logos of various
well-known companies, including “Tupperware,” Rubbermaid,” “green works,” Glad,” “Tilex,”
Kraft,” Elmers,” Walmart,” “K-Mart,” Autozone,” “Mucinex,” Woolite,” and “Clearasil,” among
others. The message conveyed by this advertisement is false, ambiguous and deceptive.

384. InventHelp’s television and internet advertisements also state: “How do you get a
patent? Call InventHelp — they’ve been helping people just like you for 35 years.” Others state:
“We have been helped over 10,000 clients get patents.” Yet others state: “Do you want to try to
get a patent? Call InventHelp now.”

385. In truth and in fact, InventHelp does not help Plaintiffs get patents.

386. InventHelp’s commercials deceive or are intended to deceive a substantial portion
of the intended audience.

387. That deception causes Plaintiffs to purchase InventHelp’s products and services.

388. InventHelp’s advertisements, goods and services travel in interstate commerce.

389. Class Plaintiffs have been injured thereby by direct out-of-pocket payment to

InventHelp.

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390. Class Plaintiffs have been injured by loss of patentability and/or marketability of
their inventions by virtue of InventHelp’s publicizing of Class Plaintiffs’ ideas and proposed
inventions to companies that have not signed nondisclosure agreements, among other things.
This damages Class Plaintiffs’ products’ position in the marketplace.

391. To the extent InventHelp does send out mass mailings of flyers describing
consumers’ inventions, many recipients of the flyers have not signed nondisclosure agreements
and/or do not even exist.

392. Defendants’ regular practice thus puts Plaintiffs’ ideas in the public realm thereby
impacting potential patentability.

393. Defendants’ regular practice also risks theft of Plaintiffs’ unpatented ideas.

394. Defendants’ regular practice also decreases and/or eliminates the salability of
Plaintiffs’ inventions.

395. Class Plaintiffs have been injured by virtue of their failure to further pursue
development and/or monetization of their inventions because they were under the false
impression that InventHelp was and is doing so for them by, among other things, sending
descriptions of their inventions to DataBank companies that purportedly signed nondisclosure
agreements. This damages Class Plaintiffs’ products’ position in the marketplace.

396. Class Plaintiffs have been injured by virtue of Defendants’ false and misleading
representation that they have relationships with, are affiliated with, or otherwise have had
business relationships with reputable companies and entities, included those listed on Exhibits I
and J hereto. Plaintiffs and class members did not and do not pursue development and/or
monetization of their inventions aside from their association with InventHelp because they were

and are under the false impression that InventHelp was and is doing so for them. This damages

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Class Plaintiffs and by virtue of their failure to pursue other means and methods to develop and

profit from their inventions.

COUNT IV
Against All Defendants
(Fraud)

397. Plaintiff realleges and incorporates herein by reference each and every foregoing
paragraph of this Complaint as if set forth in full.

398. Fraud permeates all of the dealings and contracts between Class Plaintiffs and all
Defendants herein, from start to finish.

399. The agreements and contracts signed by Class Plaintiffs are part and parcel of a
grand fraudulent scheme perpetrated by Defendants.

400. Defendants made and continue to make false and fraudulent statements (including
false and misleading disclosures in their contracts and published materials), false promises,
misleading representations, and omitting material facts to Plaintiff and Class members pertaining
to the uniqueness, patentability, and profitability, among other things, of their inventions, as set
forth above. These representations are part of Defendants’ overall business practices and are
substantially similar and uniform.

401. Throughout the course of dealings between Plaintiffs and Defendants, Defendants
make many blatant misrepresentations and omissions of present fact, including that certain
external companies are interested in Plaintiffs’ inventions, when those companies do not exist or
have not in fact expressed interest; that Defendants have relationships with “Data Bank”
companies; that Defendants have never seen items similar to Plaintiffs’ inventions; that
Defendants have performed proper patent searches; that Defendants believe that Plaintiffs’

inventions are patentable; that Defendants believe that consumers’ proposed inventions are likely

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to make a profit; and that Defendants’ submission services have led to licensing agreements for
consumers, among other things.

402. Defendants fraudulently misrepresent the actual content of the contracts between
Defendants and Class Plaintiffs, thereby tricking Class Plaintiffs into signing documents that
state different terms and conditions than those represented by Defendants.

403. Defendants also falsely represent verbally that their services will likely result in
financial gain for consumers in order to induce Plaintiffs to sign the various contracts at issue,
when, in truth and in fact, Defendants do not believe this to be the case, and, upon information
and belief, Defendants have often seen these very same inventions before.

404. Defendants falsely represent that they will undertake certain services on
consumers’ behalf, including but not limited to marketing and promotion of Plaintiffs’ proposed
inventions. In truth and in fact, Defendants do none of these things.

405. Defendants falsely represent themselves to be independent of one another, but
they are part and parcel of a single, grand scheme.

406. Defendants made many other material misrepresentations to and concealed or
suppressed material facts from Class Plaintiffs, as described in detail supra, among other things.

407. Defendants knew or believed these material misrepresentations and omissions to
be false, or made them with reckless regard for the truth.

408. Defendants misrepresented, concealed or suppressed these facts with the intent to
defraud Class Plaintiffs inducing them to purchase Defendants’ services and goods.

409. Class Plaintiffs were reasonable in relying on Defendants’ misrepresentations and
omissions of material facts because Defendants advertised and held themselves out to be

credible, legitimate and experienced sellers of invention promotion, manufacturing, distribution,

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and other such services, and as having extensive knowledge and expertise in bringing new
inventions to fruition, and as independent attorneys.

410. At the time Class Plaintiffs acted, they were unaware of the false, concealed
and/or suppressed facts and would not have purchased Defendants’ goods and services had they
known the true facts.

411. All Defendants are liable for the tortious conduct of the other Defendants, as they
(a) performed the tortious acts in concert with the others and pursuant to a common design with
them, (b) knew that the other Defendants’ conduct constituted tortious conduct and gave
substantial assistance or encouragement to the other Defendants, and (c) gave substantial
assistance to the other Defendants in accomplishing the tortious result and their own conduct,
separately considered, constituted tortious conduct towards Plaintiff and Class members.

412. As adirect and proximate result of Defendants’ misrepresentations and
concealment of material facts, Class Plaintiffs have suffered damages, the precise amount to be
determined at trial.

COUNT V
Against All Defendants
(Negligent Misrepresentation)

413. Plaintiff realleges and incorporates herein by reference each and every foregoing
paragraph of this Complaint as if set forth in full.

414. Defendants made misrepresentations and other statements in connection with their
deceptive invention promotion, patent, manufacturing, licensing and consultation services.

415. Defendants made these representations while in privity of contract with Plaintiffs.

416. The misrepresentations were and are false, deceptive and misleading at the time

they were made.

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417. Upon information and belief, at the time they were made, Defendants knew that
the statements were false, deceptive and misleading.

418. Upon information and belief, Defendants stated, disseminated, published and
advertised the misrepresentations with the intent to deceive and defraud the general public,
including Class Plaintiffs.

419. Class Plaintiffs were unaware of the falsity of the misrepresentations and relied

upon the misrepresentations and as a result have been defrauded out of large sums of money.

COUNT VI
Against All Defendants
(Breach of Contract)

420. Plaintiffs reallege and incorporate herein by reference each and every foregoing
paragraph of this Complaint as if set forth in full.

421. Defendants and Plaintiffs and members of the Class entered into various
contracts, as described above.

422. Defendants failed to fulfill the obligations set forth in the above-referenced
contracts, thereby breaching their respective contracts with Class Plaintiffs, and Class Plaintiffs
have been damaged thereby.

423. Upon information and belief, Defendants executed substantially identical
contracts with all Class Plaintiffs and failed to fulfill their obligations set forth in those contracts,
damaging Class Plaintiffs.

424. Every contract contains an implied covenant of good faith and fair dealing in the
performance and enforcement of the contract. The implied covenant is an independent duty and

may be breached even if there is no breach of the contract’s express terms.

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425. Under the contracts described herein, Plaintiffs and Class Members reasonably
expected Defendants to carry out the covenants set forth in those contracts.

426. Defendants arbitrarily and unreasonably did not fulfill the various covenants set
forth in the contracts, even though they in fact represented to Plaintiffs and Class Members that
they would make best efforts to do so.

427. Defendants acted in bad faith.

428. By reason of the foregoing, Defendants are liable to Plaintiffs and members of the
Class for the damages they have suffered as a result of Defendants’ actions, the amount of such

damages to be determined at trial, plus attorneys’ fees and costs.

COUNT Vil
Against Frost Attorney Defendants
(Unjust Enrichment)

429. Plaintiffs reallege and incorporate herein by reference each and every foregoing
paragraph of this Complaint as if set forth in full.

430. Defendants’ conduct as described herein allowed Defendants to knowingly realize
substantial revenues from selling their goods and services at the expense of, and to the detriment
or impoverishment of, Class Plaintiffs, and to Defendants’ benefit and enrichment. Defendants
have thereby violated fundamental principles of justice, equity and good conscience.

431. Class Plaintiffs conferred significant financial benefits and paid substantial

compensation to Defendants.

432. It is inequitable for Defendants to retain the benefits conferred by Class Plaintiffs.

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433. By reason of the foregoing, Defendants are liable to Plaintiffs and members of the
Class for the damages they suffered as a result of Defendants’ actions, the amount of which shall

be determined at trial, plus attorneys’ fees.

COUNT VII
Against Frost Attorney Defendants
(Breach of Fiduciary Duty)

434. Plaintiffs reallege and incorporate herein by reference each and every foregoing
paragraph of this Complaint as if set forth in full.

435. The Frost Attorney Defendants owe Class Plaintiffs fiduciary duties, including
advising and acting in Class Plaintiffs’ best interests.

436. Defendants’ “Preliminary Patentability Opinions,” opining that customers’
proposed inventions are eligible to receive patents, when, in fact, there often already exist “dead
ringer” patents that preclude patents for these inventions, are an integral part of the fraudulent
conspiracy.

437. The Frost Attorney Defendants provide services to Class Plaintiffs under the guise
that these defendants are independent and impartial, when, in fact, they are not.

438. The Attorney Defendants breached their fiduciary duties of care by, among other
things, conducting incomplete patent searches, advising Class Plaintiffs to apply for patents even
though Attorney Defendants were aware that Class Plaintiffs’ idea were not suitable for patents
for various reasons. The Frost Attorney Defendants also had first-hand knowledge of hundreds
(or thousands) of customers, referred to them by InventHelp, who did not receive utility patents

and/or complained that InventHelp is a fraud. Yet, they informed Class Plaintiffs of none of
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these facts and instead advised them to apply for patents and to move forward with InventHelp’s
SETVICES.

439. Attorney Frost rarely spoke or met with consumers to discuss their proposed
inventions, instead signing out boilerplate ‘Patentability Opinions’ without a formal engagement
letter or any discussion whatsoever about the searches he was allegedly conducting.

440. Class Plaintiffs have been damaged by The Frost Attorney Defendants’ breaches

of their fiduciary duties.

JURY DEMAND

Plaintiff demands a trial by jury on all issues so triable.

WHEREFORE, Plaintiffs, on behalf themselves and the Class, pray that the Court:

(a) Issue an Order certifying the Class as defined above, appointing the Plaintiffs as Class
Representatives, and designating their Attorney as Class Counsel;

(b) Find that Defendants have committed the violations of statutory and common law
alleged herein;

(c) Enter an Order granting monetary relief, including treble and punitive damages on
behalf of the Class in an amount at least $36,000,000.00, the precise amount of which
is to be determined at trial;

(d) Enter an Order granting monetary relief, including compensatory damages on behalf
of the Class in an amount of at least $72,000,000.00, the precise amount of which is
to be determined at trial;

(e) Enter an Order rescinding the various contracts described herein;

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(f) Determine that Defendants have been unjustly enriched as a result of their wrongful
conduct, and enter an appropriate Order awarding restitution and monetary damages;

(g) Enter an Order granting all appropriate relief on behalf of the Class under the
applicable state statutory and common laws;

(h) Enter judgment including interest, costs, reasonable attorneys’ fees, and expenses;

(1) Entering preliminary and permanent injunctive relief against Defendants, directing
Defendants to correct their practices and to comply with Pennsylvania consumer
protection laws, the Lanham Act, and the AIPA; and

(j) Granting such other and further relief as the Court may deem just and proper.

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Dated: White Plains, New York
April 29, 2019

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OXMAN LAW GROUP, PLLC
Attorneys for Plaintiffs

JULIE PRCHERSICY PLITT, ESQ.
Bar #: JP8607_ |

120 Bloomingdale Road, Suite 100

White Plains, New York 10605

(914) 422-3900

(914) 422-3636 (Fax)

jplitt@oxmanlaw.com

Stanley W. Greenfield, Esq.
Greenfield and Kraut

1040 Fifth Avenue

Pittsburgh, PA 15219

(412) 261-4466
greenfieldandkraut@verizon.net
